     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19          Page 1 of 101 PageID 6
                                      Exhibit A

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BRANDON BONEY AND CRYSTAL               §
JONES-BONEY, INDIVIDUALLY               §
AND AS NEXT OF FRIEND                   §
OF BLAZE BONEY,                         §
                                        §
Plaintiffs,                             §
                                        §      CIVIL ACTION NO.________________
v.                                      §
                                        §
                                        §
LOWE’S HOME CENTERS, LLC.               §
                                        §
Defendant.                              §

                        INDEX TO NOTICE OF REMOVAL

 EXHIBIT             DATE      DOCUMENT

      B              5-9-18    Plaintiff’s Original Petition

      C              5-10-18   Citation to Lowe’s Home Centers, LLC

      D              5-23-18   Court’s Dismissal Letter setting dismissal hearing on
                               July 13, 2018
      E              7-12-18   Affidavit of Service

      F              7-13-18   Correspondence – Plaintiff’s Letter Requesting
                               Extension and for the Dismissal for Want of Prosecution
      G              7-26-18   Defendant Lowe’s Home Centers, LLC’s Original
                               Answer
      H              7-27-18   Court’s Dismissal Letter setting dismissal hearing on
                               August 21, 2018
       I             8-6-18    Plaintiff’s Certificate of Written Discovery

       J             8-20-18   101st Jury Trial Notice 1

      K              9-5-18    Rule 11 Agreement

      L              9-10-18   Plaintiff’s First Amended Petition



INDEX TO NOTICE OF REMOVAL                                                      PAGE 1
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19      Page 2 of 101 PageID 7


   M              9-25-18   Defendant Lowe’s Home Centers, LLC’s Agreed
                            Motion for Appointment of Guardian Ad Litem
   N              10-1-     Non-Signed Order Granting Defendant Lowe’s Home
                            Centers, LLC’s Agreed Motion for Appointment of
                  2018      Guardian Ad Litem

   O              10-5-18   Order Appointing Guardian Ad Litem

   P              1-31-19   Guardian Ad Litem’s Request for Hearing to Present
                            Report and Guardian Ad Litem Fees
   Q              2-25-19   Plaintiff’s Medical Records and Billing Records
                            Affidavits from Metroplex Foot and Ankle
   R              2-25-19   Plaintiff’s Medical Records Affidavit- Dallas Regional
                            Medical Center
   S              3-1-19    Plaintiff’s Billing Records Affidavit- Dallas Regional
                            Medical Center
   T              3-29-19   Notice of Settlement

   U              4-1-19    Dismissal Letter from Court Setting Hearing for April
                            30, 2019
   V              4-23-19   Notice of Nonsuit

   W              4-30-19   Dismissal letter from Court setting hearing on June 11,
                            2019
   X              5-1-19    Guardian Ad Litem’s Motion to Set Aside and or
                            Vacate Plaintiff’s Nonsuit and Request for Sanctions
   Y              5-2-19    Guardian Ad Litem’s Letter to Counsel for Parties

   Z              5-7-19    Plaintiff’s Motion to Adopt Motion to Set Aside and/or
                            Vacate Plaintiff’s Nonsuit
   A-1            5-7-19    Ashmore and Ashmore’s Notice of Appearance

   B-1            5-7-19    Order on Motion to Adopt

   C-1            5-8-19    Defendant’s Response to Guardian Ad Litem’s Motion
                            to Set Aside and or Vacate Plaintiff’s Nonsuit and
                            Request for Sanctions
   D-1            5-9-19    Executed Order on Plaintiff’s Motion to Adopt Motion
                            to Set Aside and/or Vacate Plaintiffs’ Nonsuit
   E-1            5-9-19    Order on Guardian Ad Litem’s Motion to Set Aside
                            and/or Vacate Plaintiff’s Nonsuit and Request for
                            Sanctions
   F-1            5-13-19   Executed- Order on Guardian Ad Litem’s Motion to Set
                            Aside and/or Vacate Plaintiff’s Nonsuit and Request for
                            Sanctions


NOTICE OF REMOVAL                                                            PAGE 2
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19     Page 3 of 101 PageID 8


   G-1            5-17-19   Plaintiffs’ Second Amended Petition




NOTICE OF REMOVAL                                                       PAGE 3
                                                                                                                        FILED
                                                                                                            DALLAS COUNTY
                                                                                                            5/9/2018 11:23 AM
     Case 3:19-cv-01211-S Document 1-1Exhibit B
                                       Filed 05/20/19                 Page 4 of 101 PageID 9                   FELICIA PITRE
                                                                                                            DISTRICT CLERK
1 CIT/ESERVE
                                                                                                            Alicia Mata
                                          DC-18-06098
                              CAUSE NO. ________________________

BLAZE BONEY                         §     IN THE DISTRICT COURT
Plaintiff,                          §
                                    §
v.                                  §     _______ JUDICIAL COURT
                                    §
                                    §
LOWE’S HOME CENTERS, LLC.           §
Defendant                           §     DALLAS COUNTY, TEXAS
______________________________________________________________________________
                      PLAINTIFF’S ORIGINAL PETITION
______________________________________________________________________________
TO THE HONORABLE JUDGE OF SAID COURT:
       COMES NOW, BLAZE BONEY, Plaintiff in the above-styled cause, and hereby complain
of LOWE’S HOME CENTERS, LLC., STORE 0510, Defendant, and for this cause of action
would respectfully show the Court as follows.
1.         Discovery

           Plaintiff intends that discovery be conducted under Discovery Level (2).

2.         Parties

       Plaintiff, BLAZE BONEY (herein, “Mr. Boney”) is an individual whose address is 168
Dry Wall Ct, Royse City TX 75189 (Rockwall County). Upon information and belief, Defendant
LOWE’S HOME CENTERS, LLC., (hereinafter, “Defendant”) is a corporation conducting
business in Texas whose registered agent is CORPORATION SERVICE COMPANY D/B/A
CSC-LAWYERS INCO and is located at 211 E. 7TH Street, Suite 620, Austin, Texas 78701.

3.         Jurisdiction

       The subject matter in controversy is within the jurisdictional limits of this court.
Venue in Dallas County is proper in this cause.

4.         Facts

        On July 11, 2017, at approximately 9:40 p.m. Brandon Boney and Blaze Boney, had
walked out of LOWE’S HOME CENTER, LLC – Store 1188, when Mr. Blaze stepped on a
sharp, metal fragment protruding from a remaining handicapped sign. With minimal visibility
due to the lack of sunlight, the sign became hazardous as it had been left at such an unexpected
place. The metal sign had extruding fragments that could cause severe damage. Such fragments
penetrated Mr. Blaze’s shoe and punctured his foot causing extensive bleeding and excruciating
pain. As a result, Mr. Blaze incurred medical bills due to this incident.



Original Petition - Boney                                                                     Page 1 of 3
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                  Page 5 of 101 PageID 10



5.         Negligence

        LOWE’S HOME CENTERS, LLC., had a duty to exercise the degree of care that a
reasonably careful already established business would use to avoid harm to customers under
circumstances similar to those described herein. Plaintiff Mr. Boney’s injuries were proximately
cause by LOWE’S HOME CENTERS, LLC., careless and reckless disregard of said duty. The
negligent, careless and reckless disregard of duty of LOWE’S HOME CENTERS, LLC.,
consisted of, but is not limited to, the following acts and omissions:

                      A.    In that LOWE’S HOME CENTER, LLC., negligently failed to properly
                            maintain it’s premises.
                      B.    In that LOWE’S HOME CENTER, LLC., negligently failed to provide a
                            safe and hazard free environment for its customers.

6.         Damages

        As a direct and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff, Mr. Boney, was caused to suffer, and to incur the following damages:

                      A.    Reasonable medical care and expenses in the past. These expenses were
                            incurred by Plaintiff, Mr. Boney for the necessary care and treatment of
                            the injuries resulting from the accident complained of herein and such
                            charges are reasonable and were usual and customary charges for such
                            services in Rockwall County, Texas;
                      B.    Reasonable and necessary medical care and expenses which will in all
                            reasonable probability be incurred in the future;
                      C.    Physical pain and suffering in the past;
                      D.    Physical pain and suffering in the future; and
                      E.    Physical impairment in the past and future.

7.         Prayer

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, Mr. Boney, respectfully prays that
the Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,
judgment be entered for the Plaintiff against Defendant for damages in an amount within the
jurisdictional limits of the Court; together with pre-judgment interest (from the date of injury
through the date of judgment) at the maximum rate allowed by law; post-judgment interest at the
legal rate, costs of court; and such other and further relief to which the Plaintiff may be entitled
at law or in equity.

                                                         Respectfully submitted,




Original Petition - Boney                                                                     Page 2 of 3
    Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 6 of 101 PageID 11


                                           UDESHI CLARK & ASSOCIATES

                                           2201 Main St, Ste. 1250,
                                           Dallas, TX 75201
                                           Tel. (469) 906-2266
                                           Fax. (469) 906-2299




                                           By: /s/Stephen Clark
                                               Stephen Clark
                                               Email:stephen@ucalaw.com
                                               Kunal Udeshi
                                               Email: kunal@ucalaw.com
                                               Attorneys for   BLAZE BONEY




                    7                                                        Page 3 0f3
Original Petition       Boney
                       Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                    Page 7 of 101 PageID 12

                                                                   Exhibit C
FORM NO. 353-3 - CITATION                                                                                              ESERVE
THE STATE OF TEXAS                                                                                                   CITATION
To:
        LOWE'S HOME CENTERS, LLC.
                                                                                                                     DC-18-06098
        SERVING REGISTERED AGENT IS CORPORATION SERVICE COMPANY
        D/B/A CSC-LAWYERS INCO
        211 E. 7TH STREET, SUITE 620
        AUSTIN, TEXAS 78701                                                                                      BLAZE BONEY
                                                                                                                     VS.
GREETINGS:                                                                                                 LOWE'S HOME CENTERS, LLC.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be              ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 101st District Court at 600             10th day of May, 2018
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                  FELICIA PITRE
Said Plaintiff being BLAZE BONEY                                                                                Clerk District Courts,
                                                                                                                Dallas County, Texas
Filed in said Court 9th day of May, 2018 against

LOWE'S HOME CENTERS, LLC.                                                                                    By: KARI MALONE, Deputy
                                                                                                         ________________________________
For Suit, said suit being numbered DC-18-06098, the nature of which demand is as follows:
Suit on PROPERTY etc. as shown on said petition, a copy of which accompanies this citation. If this            Attorney for Plaintiff
citation is not served, it shall be returned unexecuted.                                                      STEPHEN R. CLARK, II
                                                                                                          UDESHI CLARK AND ASSOCIATES
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                      2201 MAIN ST
Given under my hand and the Seal of said Court at office this 10th day of May, 2018.                                  STE 1250
                                                                                                                DALLAS TX 75201
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                        469-906-2266
                                                                                                               stephen@ucalaw.com
                             /s/ Kari Malone
                        By__________________________________, Deputy
                             KARI MALONE                                                                      DALLAS COUNTY
                                                                                                               SERVICE FEES
                                                                                                                     NOT PAID
                            Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                      Page 8 of 101 PageID 13


                                                                       OFFICER'S RETURN
Case No. : DC-18-06098

Court No.101st District Court

Style: BLAZE BONEY

VS.

LOWE'S HOME CENTERS, LLC.

Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,

within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,

20_______________, by delivering to the within named

____________________________________________________________________________________________________

____________________________________________________________________________________________________________

each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation        $__________                    _______________________________________________

                                For mileage                  $__________                   of__________________County, ____________________

                                For Notary                   $__________                    By______________________________________Deputy

                                                               (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,

to certify which witness my hand and seal of office.


                                                                                           _____________________________________________________

                                                                                           Notary Public___________________County_________________
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19      Page 9 of 101 PageID 14
                                       Exhibit D




                       101st JUDICIAL DISTRICT COURT
                       GEORGE L. ALLEN COURTS BUILDING
                              600 COMMERCE STREET
                           DALLAS, TEXAS 75202-4604

                                   May 23, 2018

STEPHEN R. CLARK II
UDESHI CLARK AND ASSOCIATES
2201 MAIN ST
STE 1250
DALLAS TX 75201

Cause No:    DC-18-06098

             Blaze Boney
              vs.
             Lowe's Home Centers, LLC.

ALL COUNSEL OF RECORD AND PRO SE PARTIES:

The above case is set for dismissal, pursuant to Rule 165A, Texas Rules of
Civil Procedure and pursuant to the inherent power of the Court, on:

             July 13, 2018 at 9:00 AM

If no answer has been filed, you are expected to have moved for a default
judgment on or prior to that date.   Your failure to have done so will result
in the dismissal of the case on the above date.

If you have been unable to obtain service of process and you wish to retain
the case on the docket, you must appear on the above date, unless you have
obtained a new setting from the court coordinator.

Sincerely,



District Judge,
101 st Judicial District Court

CC:   Lowe's Home Centers, LLC.; STEPHEN R. CLARK, II
                                                                                                                                     FILED
                                                                                                                         DALLAS COUNTY
                                                                                                                         7/12/2018 3:22 PM
      Case 3:19-cv-01211-S Document 1-1 Exhibit E
                                         Filed 05/20/19                           Page 10 of 101 PageID 15                  FELICIA PITRE
                                                                                                                         DISTRICT CLERK
                                                                                                    Sacheen Anthony
                                             CAUSE NO. DC-18-06098

BLAZE BONEY                                                 §                                     IN THE DISTRICT COURT
                                                            §
                         Plaintiff,                         §
vs.                                                         §                                   101ST JUDICIAL DISTRICT
                                                            §
LOWE'S HOME CENTERS,LLC.                                    §
                       Defendant.                           §                                  OF DALLAS COUNTY,TEXAS

                                               AFFIDAVIT OF SERVICE

On this day personally appeared Corin Sparre who, being by me duly sworn, deposed and said:

"The following came to hand on Jul 12,2018,9:00 am,

                                       CITATION, PLAINTIFF'S ORIGINAL PETITION,

and was executed at 211 E. 7TH STREET,SUITE 620 ,AUSTIN,,TEXAS 78701 within the county ofTravis at 02:00 PM on
Thu,Jul 12 2018, by delivering a true copy to the within named

  LOWE'S HOME CENTERS,LLC. SERVING REGISTERED AGENT IS CORPORATION SERVICE COMPANY,ACCEPTED BY
                              REGISTERED AGENT VANESSA HERNANDEZ

in person, having first endorsed the date of delivery on same.

I am a person over eighteen (18) years of age and I am competent to make this affidavit. I am a resident of the State of
Texas. I am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. I am not a party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit. I have never been convicted
of a felony or of a misdemeanor involving moral turpitude. I have personal knowledge of the facts stated herein and they
are true and correct."

My name is Corin Sparre, my date of birth is Feb 5th,1983, and my address is 500 E. 4th St. #143,Austin,TX 78701, and
United States of America. I declare under penalty of perjury that the foregoing is true and correct.

Executed in Travis County, State of Texas, on July 12,2018.




                                                                Corin Sparre
                                                                SCH 5625 Exp:09/30/2018
                                                                                                                   FILED
                                                                                                       DALLAS COUNTY

                                    Exhibit
  Case 3:19-cv-01211-S Document 1-1 Filed    F
                                          05/20/19                         Page 11 of 101 PageID 16
                                                                                                      7/13/2018 11:46 AM
                                                                                                          FELICIA PITRE
                                                                                                        DISTRICT CLERK


                                   a   i
                                           UDESHI CLAnﬁ
                                                  8A iiiiiiii
                                            2201 Main St., Ste 1250
                                               Dallas, TX 75201
                                              Ph: (469) 906-2266
                                              Fax: (469) 906-2299
Stephen Clark
State Bar of Texas
                                             July 13, 2018

101st Judicial District Court
George L. Allen Courts Building
600 Commerce St.
Dallas, TX 75202 – 4604

          Re:        Cause No.: DC-18-06098 : Blaze Boney vs. Lowe’s Home Centers, LLC.,

To whom it may concern:

        Please accept this letter as a formal Request for Extension, and for the Dismissal for Want
of Prosecution to be removed and to keep the case referenced above on the docket. On July 12,
2018 at approximately 2:00 pm a Citation along with the Plaintiffs Original Petition was served
upon the registered agent Vanessa Hernandez on behalf of Lowe’s Home Centers, LLC. I will
attach the Affidavit of Service for your records.

      If you have any questions or concerns, please do contact me or the office. Thank you in
advanced for your assistance with this matter.

                                                                      Best regards,

                                                                      /s/ Stephen Clark

                                                                      Stephen Clark




SC/jr
                                                                                                                      FILED
                                                                                                          DALLAS COUNTY
                                                                                                         7/26/2018 12:54 PM
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19               Page 12 of 101 PageID 17                 FELICIA PITRE
                                                                                                           DISTRICT CLERK
                                               Exhibit G
                                    CAUSE NO. DC 18-06098

BLAZE BONEY,                                   §                     IN THE DISTRICT COURT
Plaintiff,                                     §
                                               §
v.                                             §                     101ST JUDICIAL DISTRICT
                                               §
LOWE’S HOME CENTERS, LLC,                      §
Defendant.                                     §                     DALLAS COUNTY, TEXAS

         DEFENDANT LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER

         Defendant Lowe’s Home Centers LLC, (“Defendant” or “LHC”) files this answer to

Plaintiff’s Original Petition (“the Petition”), and would respectfully show the Court as follows:

                                     I.     GENERAL DENIAL

         1.    Pursuant to Texas Rule of Civil Procedure 92, Defendant generally denies each and

every allegation contained in Plaintiff’s Original Petition and demands strict proof of Plaintiff’s

allegations against Defendant by a preponderance of the evidence.

                              II.     AFFIRMATIVE DEFENSES

         2.    LHC affirmatively asserts that it cannot be held liable for any of the damages

Plaintiff seeks because LHC did not engage in any negligent conduct, intentional misconduct, or

other act or omission upon which liability can be based.

         3.    LHC further affirmatively asserts that Plaintiff’s claims against LHC are barred, in

whole or in part, due to Plaintiff’s contributory negligence and/or other comparative responsibility

in that Plaintiff failed to act as a reasonably prudent person under the same or similar circumstances

immediately preceding and during the incident in question. Accordingly, LHC invokes the

comparative fault statute set forth in Chapter 33 of Texas Civil Practice and Remedies Code.

         4.    LHC further affirmatively asserts that the acts and omissions of Plaintiff were the

sole proximate cause, an intervening cause, or a superseding cause of the incident in question and


DEFENDANT LOWE’S HOME CENTERS, LLC.’S ORIGINAL ANSWER                                         PAGE 1
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                   Page 13 of 101 PageID 18


of the alleged damages suffered by Plaintiff.

        5.        LHC further affirmatively asserts that any act or omission alleged by Plaintiff to be

attributable to LHC was not the sole, proximate, and/or producing cause of the injury or damages

alleged by Plaintiff.

        6.        LHC further affirmatively asserts that Plaintiff’s recovery of medical or health care

expenses is limited to amounts actually paid or incurred as provided for under Section 41.0105 of

the Texas Civil Practice and Remedies Code. To do otherwise would constitute a windfall and

would unfairly allow Plaintiff to benefit from the provider discounts arranged by his health insurer.

        7.        LHC affirmatively asserts that it cannot be held liable for any of the damages

Plaintiff seeks because Plaintiff does not have standing to file a lawsuit in this matter.

        8.        LHC reserves the right to assert other affirmative defenses as discovery continues

in this matter.

                                           III.     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Lowe’s Home Centers, LLC

prays that, upon final hearing in this matter, the Court enter a take-nothing judgment against

Plaintiff and that Defendant recover all of its costs from Plaintiff. Defendant also prays that it

receives all other and further relief both at last and in equity, to which it may show itself justly

entitled.

        Date: July 26, 2018.


                                                  Respectfully submitted,
                                                  OKON HANNAGAN, PLLC
                                                  By: /s/ Melanie K. Okon
                                                      MELANIE K. OKON
                                                      State Bar No. 24012951


DEFENDANT LOWE’S HOME CENTERS, LLC.’S ORIGINAL ANSWER                                          PAGE 2
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                  Page 14 of 101 PageID 19


                                                   Email: mokon@okonhannagan.com
                                                   SARIKA PATEL
                                                   State Bar No. 24073520
                                                   Email: spatel@okonhannagan.com

                                              One Galleria Tower
                                              13355 Noel Road, Suite 1900
                                              Dallas, TX 75240
                                              Telephone: (214) 396-9650
                                              Facsimile: (469) 909-6115

                                              COUNSEL FOR DEFENDANT
                                              LOWE’S HOME CENTERS, LLC


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 26th day of July 2018, a true and correct copy of the above
and foregoing has been served upon the following counsel, in accordance with the Texas Rules
of Civil Procedure.

Stephen Clark
Kunal Udeshi
UDESHI CLARK & ASSOCIATES
2201 Main St., Ste. 1250
Dallas, TX 75201
Email: stephen@ucalaw.com
Email: kunal@ucalaw.com

COUNSEL FOR PLAINTIFF

                                              /s/ Melanie K. Okon
                                              Melanie K. Okon




DEFENDANT LOWE’S HOME CENTERS, LLC.’S ORIGINAL ANSWER                                         PAGE 3
 Case 3:19-cv-01211-S Document 1-1 Exhibit H
                                    Filed 05/20/19      Page 15 of 101 PageID 20




                       101st JUDICIAL DISTRICT COURT
                       GEORGE L. ALLEN COURTS BUILDING
                              600 COMMERCE STREET
                           DALLAS, TEXAS 75202-4604

                                   July 27, 2018

STEPHEN R. CLARK II
UDESHI CLARK AND ASSOCIATES
2201 MAIN ST
STE 1250
DALLAS TX 75201

Cause No:    DC-18-06098

             Blaze Boney
              vs.
             Lowe's Home Centers, LLC.

ALL COUNSEL OF RECORD AND PRO SE PARTIES:

The above case is set for dismissal, pursuant to Rule 165A, Texas Rules of
Civil Procedure and pursuant to the inherent power of the Court, on:

             August 21, 2018 at 9:30 AM

If no answer has been filed, you are expected to have moved for a default
judgment on or prior to that date.   Your failure to have done so will result
in the dismissal of the case on the above date.

If you have been unable to obtain service of process and you wish to retain
the case on the docket, you must appear on the above date, unless you have
obtained a new setting from the court coordinator.

Sincerely,



District Judge,
101 st Judicial District Court

CC:   Lowe's Home Centers, LLC.; STEPHEN R. CLARK, II
                                                                                                                   FILED
                                                                                                       DALLAS COUNTY
                                                                                                       8/6/2018 11:20 AM
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                    Page 16 of 101 PageID 21            FELICIA PITRE
                                                                                                       DISTRICT CLERK
                                                    Exhibit I
                                           CAUSE NO. DC-18-06098

BRANDON BONEY, AS                                      §   IN THE DISTRICT COURT
GUARDIAN OF B.B.                                       §
Plaintiff,                                             §
                                                       §
V.                                                     §   101ST JUDICIAL DISTRICT
                                                       §
LOWE'S HOME CENTERS, LLC.,                             §
STORE 0510                                             §
Defendant.                                             §   OF DALLAS COUNTY, TEXAS


      PLAINTIFF'S CERTIFICATE OF WRITTEN DISCOVERY
 DIRECTED TO DEFENDANT LOWE'S HOME CENTERS, LLC., STORE
                           0510


       Plaintiff, BRANDON BONEY on behalf of BLAZE BONEY, a child., files
this Certificate of Written Discovery Directed to the Defendant, LOWE'S HOME
CENTERS, LLC., STORE 0510, located at 4444 N. Galloway Avenue, Mesquite,
Texas, 75150 pursuant to the applicable local rule and states that the discovery set
forth below was served upon the following party on July 10, 2018:

           LOWE'S HOME CENTERS, LLC., STORE 0510, Defendant, at Defendants
           Corporate Offices located at 211 E. 7th Street, Suite 620, Austin, Texas 78701

                                              Discovery Served

                      1.         Interrogatories - First Set
                      2.         Request for Production - First Set
                      3.         Request for Disclosure - First Set




Certificate of Written Discovery – Blaze                                                 Page 1 of 2
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                              Page 17 of 101 PageID 22



                                                          Respectfully submitted,


                                                          UDESHI CLARK & ASSOCIATES
                                                          2201 Main     St.,   Suite 1250,
                                                          Dallas,   TX 75201
                                                          Ph: (469) 906—2266
                                                          Fax: (469) 906—2299


                                                          By: /s/ Stephen Clark
                                                              Stephen Clark
                                                               Texas Bar No. 24078349
                                                               Email: stephen@ucalaw.com
                                                               Kunal Udeshi
                                                               Texas Bar N0. 24076744
                                                               Email: kunal@ucalaw.com
                                                               Attorneys for      BRANDON BONEY


                                           CERTIFICATE OF SERVICE

          I         0n July 10, 201 8 a true and correct copy of Plaintiff‘s Certiﬁcate
              certify that
of Written Discovery was served on LOWE'S HOME CENTERS, LLC., STORE
05 10 electronically at annelise.0.jaap@lowes.com, 0n August 6, 201 8 and the
electronic transmission                   was reported   as complete.


                                                                By: /s/ Stephen Clark
                                                                    Stephen Clark
                                                                      E-Mail: steghen@ucalaw.com




Certiﬁcate of Written Discovery — Blaze                                                            Page 2 0f 2
 Case 3:19-cv-01211-S Document 1-1Exhibit  J
                                    Filed 05/20/19          Page 18 of 101 PageID 23




                               101ST DISTRICT COURT
                       GEORGE L. ALLEN, SR. COURTS BUILDING
                              600 COMMERCE STREET
                            DALLAS, TEXAS 75202-4604

                                                               August 20, 2018
STEPHEN R. CLARK II
UDESHI CLARK AND ASSOCIATES
2201 MAIN ST
STE 1250
DALLAS TX 75201

Re:   DC-18-06098
      Blaze Boney vs. Lowe's Home Centers, LLC.

ALL COUNSEL OF RECORD/PRO SE LITIGANTS:
PLEASE TAKE NOTE OF THE FOLLOWING SETTINGS:

             Non Jury Trial:      04/02/2019@ 9:00 AM

Trial announcements MUST BE MADE in accordance with Rule 3.02, Local Rules of
the Civil Court of Dallas County, Texas.
When NO announcement is made for defendant, defendant will be presumed ready. If
ANY plaintiff fails to announce or to appear at trial, the case will be dismissed for want
of prosecution in accordance with Rule 165a, Texas Rules of Civil Procedure.
Completion of discovery, presentation of pretrial motions, and other matters relating to
the preparation for trial, are controlled by the Scheduling Order in this case or by the
Texas Rules of Civil Procedure, in the event no Scheduling Order has been signed by the
Court.
The Mediator may be selected by agreement of all parties. The parties must advise both
the Court and the Mediator in writing of any agreed Mediator.
Please forward a copy of this notice to counsel of record for each party and all pro se
parties by a method approved in Texas Rules of Civil Procedure 21a.
SINCERELY,


�
STACI WILLIAMS
JUDGE, 101ST DISTRICT COURT
DALLAS COUNTY, TEXAS
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 19 of 101 PageID 24

                                         kJ
                                        .:i:
pc:   STEPHEN R. CLARK, II; MELANIE K. ".'
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 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                   Page 20 of 101 PageID 25                 FELICIA PITRE

          0                                     Exhibit K
                                                                                                          DISTRICT CLERK


          K                                                                                       Nikita Mosley


          0
   HANNAGAN                                                                           Melanie Okon
                                                                            mokon@okonhannagan.com
                                                                                     (214) 396-9651

                                        September 5, 2018

VIA EMAIL
Stephen Clark
UDESHI CLARK & ASSOCIATES
2201 Mani St., Ste. 1250
Dallas, Texas 75201
Email: stephen@ucalaw.com

RE:    Blaze Boney v. Lowe's Home Centers, LLC, 101st District Court, Dallas County, Texas;
       Cause No. DC-18-06098

                                    RULE 11 AGREEMENT

Dear Counsel:

        This letter is to memorialize the agreement between and among Plaintiff Blaze Boney
("Boney") and Lowe's Home Centers, LLC ("Lowe's") (collectively Boney and Lowe's are
referred to as the "Parties"). The Parties have agreed to suspend all discovery deadlines for 90 days
from the date of this agreement to allow the Parties for work on finalizing settlement
documentation for this matter.

       If the foregoing does not accurately reflect our agreement, please let me know as soon as
possible. Thank you for your cooperation.

                                              Isl Melanie K. Okon
                                              Melanie K. Okon

                                              Counsel for Lowe's Home Centers, LLC

AGREED:

/s/S�c!/4d
Stephen Clark
Attorney for Plaintiff


                                      OKON HANNAGAN, PLLC

One Galleria Tower                                                                ( 214) 396-9650 - tel
13355 Noel Road, Suite 1900                                                      (469 )-909-6115 - fax
Dallas, Texas 75240                                                          www.okonhannagan.com
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     Case 3:19-cv-01211-S Document 1-1Exhibit L
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                                                                                                     Kevin Molden
                                      CAUSE NO. DC-18-06098
BRANDON BONEY                       §     IN THE DISTRICT COURT
AND CRYSTAL                         §
JONES-BONEY, AS                     §
NEXT OF FRIEND                      §
FOR BLAZE BONEY                     §
Plaintiff,                          §     101ST JUDICIAL COURT
v.                                  §
                                    §
                                    §
LOWE’S HOME CENTERS, LLC.           §
Defendant                           §     DALLAS COUNTY, TEXAS
______________________________________________________________________________
                      PLAINTIFF’S AMENDED PETITION
______________________________________________________________________________
TO THE HONORABLE JUDGE OF SAID COURT:
        COMES NOW, BRANDON BONEY AND CRYSTAL JONES-BONEY, AS NEXT OF
FRIEND FOR BLAZE BONEY, Plaintiff in the above-styled cause, and hereby complain of
LOWE’S HOME CENTERS, LLC., STORE 0510, Defendant, and for this cause of action would
respectfully show the Court as follows.
1.         Discovery

           Plaintiff intends that discovery be conducted under Discovery Level (2).

2.         Parties

       Plaintiff, BRANDON BONEY AND CRYSTAL JONES-BONEY, AS NEXT OF
FRIEND FOR BLAZE BONEY (herein, “Mr. Boney”) is an individual whose address is 168
Dry Wall Ct, Royse City TX 75189 (Rockwall County). Upon information and belief, Defendant
LOWE’S HOME CENTERS, LLC., (hereinafter, “Defendant”) is a corporation conducting
business in Texas whose registered agent is CORPORATION SERVICE COMPANY D/B/A
CSC-LAWYERS INCO and is located at 211 E. 7TH Street, Suite 620, Austin, Texas 78701.

3.         Jurisdiction

       The subject matter in controversy is within the jurisdictional limits of this court.
Venue in Dallas County is proper in this cause.

4.         Facts

       On July 11, 2017, at approximately 9:40 p.m. Brandon Boney and Blaze Boney, had
walked out of LOWE’S HOME CENTER, LLC – Store 1188, when Mr. Blaze stepped on a
sharp, metal fragment protruding from a remaining handicapped sign. With minimal visibility



Original Petition - Boney                                                                     Page 1 of 3
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                 Page 22 of 101 PageID 27


due to the lack of sunlight, the sign became hazardous as it had been left at such an unexpected
place. The metal sign had extruding fragments that could cause severe damage. Such fragments
penetrated Mr. Blaze’s shoe and punctured his foot causing extensive bleeding and excruciating
pain. As a result, Mr. Blaze incurred medical bills due to this incident.

5.         Negligence

        LOWE’S HOME CENTERS, LLC., had a duty to exercise the degree of care that a
reasonably careful already established business would use to avoid harm to customers under
circumstances similar to those described herein. Plaintiff Mr. Boney’s injuries were proximately
cause by LOWE’S HOME CENTERS, LLC., careless and reckless disregard of said duty. The
negligent, careless and reckless disregard of duty of LOWE’S HOME CENTERS, LLC.,
consisted of, but is not limited to, the following acts and omissions:

                      A.    In that LOWE’S HOME CENTER, LLC., negligently failed to properly
                            maintain it’s premises.
                      B.    In that LOWE’S HOME CENTER, LLC., negligently failed to provide a
                            safe and hazard free environment for its customers.

6.         Damages

        As a direct and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff, Mr. Boney, was caused to suffer, and to incur the following damages:

                      A.    Reasonable medical care and expenses in the past. These expenses were
                            incurred by Plaintiff, Mr. Boney for the necessary care and treatment of
                            the injuries resulting from the accident complained of herein and such
                            charges are reasonable and were usual and customary charges for such
                            services in Rockwall County, Texas;
                      B.    Reasonable and necessary medical care and expenses which will in all
                            reasonable probability be incurred in the future;
                      C.    Physical pain and suffering in the past;
                      D.    Physical pain and suffering in the future; and
                      E.    Physical impairment in the past and future.

7.         Prayer

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, Mr. Boney, respectfully prays that
the Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,
judgment be entered for the Plaintiff against Defendant for damages in an amount within the
jurisdictional limits of the Court; together with pre-judgment interest (from the date of injury
through the date of judgment) at the maximum rate allowed by law; post-judgment interest at the
legal rate, costs of court; and such other and further relief to which the Plaintiff may be entitled
at law or in equity.

                                                         Respectfully submitted,


Original Petition - Boney                                                                     Page 2 of 3
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                   Page 23 of 101 PageID 28




                                                        UDESHI CLARK & ASSOCIATES

                                                        2201 Main St., Ste. 1250,
                                                        Dallas, TX 75201
                                                        Tel. (469) 906-2266
                                                        Fax. (469) 906-2299


                                                        By: /s/ Stephen Clark________________
                                                            Stephen Clark
                                                            Email:stephen@ucalaw.com
                                                            Kunal Udeshi
                                                            Email: kunal@ucalaw.com
                                                            Attorneys for PLAINTIFF




                                        Certificate of Service


          I certify that a true copy of the above was served on each attorney of record or party in

accordance with the Texas Rules of Civil Procedure on September 10, 2018.




                                                         /s/ Stephen Clark
                                                          STEPHEN CLARK
                                                          Attorney for PLAINTIFF




Original Petition - Boney                                                                     Page 3 of 3
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     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19              Page 24 of 101 PageID 29                FELICIA PITRE
                                                                                                         DISTRICT CLERK
                                            Exhibit M                                         Nikita Mosley
                                    CAUSE NO. DC 18-06098

BRANDON BONEY AND CRYSTAL                     §                     IN THE DISTRICT COURT
JONES-BONEY, AS NEXT OF                       §
FRIEND FOR BLAZE BONEY,                       §
Plaintiff,                                    §
                                              §                     101ST JUDICIAL DISTRICT
v.                                            §
                                              §
                                              §
LOWE’S HOME CENTERS, LLC,                     §
Defendant.                                    §                     DALLAS COUNTY, TEXAS

        DEFENDANT LOWE’S HOME CENTERS, LLC’S AGREED MOTION FOR
                  APPOINTMENT OF GUARDIAN AD LITEM

         Defendant Lowe’s Home Centers, LLC (“Lowe’s” or “Defendant”), asks the Court to

appoint a guardian ad litem in this case, as authorized by Texas Rule of Civil Procedure 173.

                                         BACKGROUND


         Minor Blaze Boney, the Plaintiff in this suit, is represented by Brandon Boney and Crystal

Jones-Boney, his guardians. The parties have reached a settlement in this lawsuit. Accordingly,

Defendant requests that this Court appoint a guardian ad litem to approve this settlement and

protect Defendant’s interests against any future lawsuit that could be brought by minor Blaze

Boney arising from the same facts in this lawsuit.

                              ARGUMENTS AND AUTHORITIES

         A court must appoint a guardian ad litem for a party represented by a guardian or next

friend when the parties agree to an appointment. Tex. R. Civ. P. 173.2(a)(2). The parties ask the

Court to appoint a guardian ad litem in this case because the parties have agreed to an appointment.


                                                  PRAYER

         For these reasons, Defendant asks the Court to appoint a guardian ad litem for Blaze Boney.


DEFENDANT LOWE’S HOME CENTERS, LLC’S AGREED
MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM                                                 PAGE 1
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                  Page 25 of 101 PageID 30


                                             Respectfully submitted,
                                             OKON HANNAGAN, PLLC
                                             By: /s/ Melanie K. Okon
                                                 MELANIE K. OKON
                                                 State Bar No. 24012951
                                                 Email: mokon@okonhannagan.com
                                                 SARIKA PATEL
                                                 State Bar No. 24073520
                                                 Email: spatel@okonhannagan.com

                                             One Galleria Tower
                                             13355 Noel Road, Suite 1900
                                             Dallas, TX 75240
                                             Telephone: (214) 396-9650
                                             Facsimile: (469) 909-6115

                                             COUNSEL FOR DEFENDANT
                                             LOWE’S HOME CENTERS, LLC


                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 25th day of September 2018, a true and correct copy of the
above and foregoing has been served upon the following counsel, in accordance with the Texas
Rules of Civil Procedure.

Stephen Clark
stephen@ucalaw.com
Kunal Udeshi
kunal@ucalaw.com
UDESHI CLARK & ASSOCIATES
2201 Main St., Ste. 1250
Dallas, TX 75201

COUNSEL FOR PLAINTIFF

                                             /s/ Melanie K. Okon
                                             Melanie K. Okon




DEFENDANT LOWE’S HOME CENTERS, LLC’S AGREED
MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM                                                PAGE 2
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19         Page 26 of 101 PageID 31
                                           Exhibit N
                                  CAUSE NO. DC 18-06098

BRANDON BONEY AND CRYSTAL                  §                   IN THE DISTRICT COURT
JONES-BONEY, AS NEXT OF                    §
FRIEND FOR BLAZE BONEY,                    §
Plaintiff,                                 §
                                           §                   101ST JUDICIAL DISTRICT
v.                                         §
                                           §
                                           §
LOWE’S HOME CENTERS, LLC,                  §
Defendant.                                 §                   DALLAS COUNTY, TEXAS

     ORDER GRANTING DEFENDANT LOWE’S HOME CENTERS, LLC’S AGREED
            MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM

         The Court, having considered Defendant Lowe’s Home Centers, LLC’s Agreed Motion for

Appointment of Guardian Ad Litem, finds that the Motion should be granted.

         THEREFORE, IT IS ORDERED that Defendant’s Agreed Motion for Appointment of

Guardian Ad Litem is GRANTED.

         Signed this ___ day of _________________, 2018.



                                           __________________________________________
                                           JUDGE STACI WILLIAMS




ORDER GRANTING DEFENDANT LOWE’S HOME CENTERS, LLC’S AGREED
MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM                                          PAGE 1
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                    Page 27 of 101 PageID 32

                                                       Exhibit O

                                         CAUSE NO. DC                18-06098


BRANDON BONEY AND CRYSTAL                             §                             IN   THE DISTRICT COURT
JONES-BONEY, AS NEXT OF                               §
FRIEND FOR BLAZE BONEY,                               §
Plaintiff,                                             §
                                                       §
                                                                                    101“ JUDICIAL DISTRICT
v.                                                     §
                                                       §
                                                       §
LOWE’S HOME CENTERS, LLC,                              §
Defendant.                                             §                            DALLAS COUNTY, TEXAS

     ORDER GRANTING DEFENDANT LOWE’S HOME CENTERS. LLC’S AGREED
            MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM
           The Court, having considered Defendant Lowe’s               Home Centers, LLC’s Agreed Motion for

Appointment of Guardian           Ad Litem,   ﬁnds   that the   Motion should be granted.


           THEREFORE,       IT IS    ORDERED         that Defendant’             eed Motion for
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ORDER GRANTING DEFENDANT LOWE’S HOME CENTERS, LLC’S AGREED
MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM                                                           PAGE    1
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                                                                                                                                            DISTRICT CLERK

                                                           NO. DC-18-06098                                                 Veronica Vaughn

BRANDON BONEY AND CRYSTAL                                           §                              IN   THE DISTRICT COURT
JONES-BONEY, AS NEXT OF FRIEND                                      §
FOR BLAZE BONEY, A MINOR,                                           §
PLAINTIFFS                                                          §

                                                                    §
                                                                                                    101st   JUDICLAL DISTRICT
V.                                                                  §

                                                                    §
LOWE’S HOME CENTERS, LLC,                                           §                             DALLAS COUNTY, TEXAS
DEFENDANT                                                           §


                        GUARDIAN AD LITEM’S REQUEST FOR HEARING
                     TO PRESENT REPORT AND GUARDIAN AD LITEM FEES
TO THE HONORABLE JUDGE OF SAID COURT:
           Now   comes the duly appointed Guardian                         Ad   Litem in the above mentioned and numbered

Cause and requests that             this   Court   set   hearing for the Guardian            Ad Litem       to present his ﬁndings   of

facts   and documented Guardian               Ad        Litem    fees incurred,      and   in support thereof     would   respectfully


show    the Court the following:


                                                                          1.



           On May     9,   2018, an Original Petition was ﬁled with the Court and styled as Blaze Boney,

Plaintiff V.   Lowe’s      Home       Centers,     LLC. The             petition   made    a request 0f this Court to conduct        all



discovery in this matter under a Level 2 Discovery Plan.                            The    Petition alleges that Blaze    Boney was

injured    on July   11,   2017 on the Defendant’s premises and that the                         injuries   were proximately caused

by the Defendant’s negligence. Speciﬁcally, the Petition                           states that   sharp metal fragments protruding

from a remaining handicap              sign in the Defendant’s parking lot punctured the shoe                      and foot of Blaze

Boney causing        extensive bleeding and excruciating pain.                        The   Petition    went on    t0 allege that the


Defendant      failed t0 properly           maintain      its’    premises and failed t0 provide a safe and hazard free

environment for        its”    customers.          It    was     this   negligence that proximately caused Blaze Boney’s

injuries   and damages Which included reasonable medical care and expenses, both                                     in the past   and

future, physical pain         and    suffering,    both in the past and future and physical impairment, both in the

past and future.
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                     Page 29 of 101 PageID 34

                                                             2.



         Defendant, Lowe’s             Home    Centers,   LLC, ﬁled        their Original    Answer on            July 26, 2018

alleging a General Denial          and several Afﬁrmative Defenses that included                 Plaintiffs Contributory


Negligence, Intervening and Superseding Cause and the Lack 0f Standing by Blaze Boney, a minor

to bring this cause    0f action.

                                                             3.


         In response to the Defendant’s Afﬁrmative Defense 0f minor’s lack of standing t0 bring                                     this


lawsuit, Plaintiffs ﬁled their         Amended    Petition   on September        10, 208.    With the exception of the

new    style,   Brandon Boney and          Crystal   Jones-Boney      as   Next Friend      for Blaze       Boney          V.   Lowe’s

Home     Centers,   LLC,   Plaintiffs’   Amended      Petition cited the      same alleged   facts   and cause 0f action             as


presented t0 the Court in their Original Petition.

                                                             4.


         Defendant Lowe’s              Home   Centers,    LLC, ﬁled an Agreed Motion                 for     Appointment 0f

Guardian    Ad    Litern   on September       25, 2018.   In their Motion, Defendant stated that the parties had

reached a settlement in the lawsuit and requested that                 this   Court appoint a Guardian                Ad    Litem to

approve the settlement and “protect Defendant’s                   interests against    any future lawsuit that could be

brought by minor Blaze Boney arising from the same                    facts in this lawsuit”.   The Defendant                   cited as


authority for this request, TeX. R. CiV. P. 173.2(a) (2), stating that a court                must appoint             a   Guardian

Ad    Litem for a party represented by a Guardian 0r Next Friend when the                              parties agree t0              an

appointment. The Defendant further stated that the parties had agreed t0 an appointment.

                                                             5.



         The Court granted Defendant’s Agreed Motion T0 Appoint Guardian Ad Litem and                                            signed

an Order on October         5,   2018 appointing Ronald B. Hurdle             as the   Guardian      Ad   Litem t0 represent

the interests of the   minor     in this lawsuit.


                                                             6.



         After reviewing         all   of the pleadings on         ﬁle,    medical records and            bills   reﬂecting the


reasonably and necessary treatment of the minor’s injuries, conducting a personal face—to—face

meeting with the minor and             his parents   and completing a thorough investigation into the                       facts   and




Guardian    Ad Litem’s Request for Hearing t0          Present Report and Guardian        Ad Litem Fees           -   Page 2
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                               Page 30 of 101 PageID 35

circumstances surrounding the incident, including the acts of negligence, the Guardian                       Ad    Litem   is



now     ready t0 present his ﬁndings of fact t0 the Court. In addition, as a result 0f the aforementioned

activities,   the Guardian    Ad    litem has incurred fees that should be presented to the Court for review


and approval. The Guardian            Ad Litern   respectfully requests that this      Court   set a hearing at the      next

available opportunity       on the Court’s docket so the Guardian          Ad   Litem can present       his   ﬁndings 0f

fact,   recommendation       for non—approval of the agreed      upon     settlement agreement and fees incurred


as a result    of the   efforts    and time exerted by the Guardian       Ad   Litern to the Court for review            and

approval.


          WHEREFORE, PREMISES CONSIDERED,                          movant      requests this Court t0 set a hearing


at the   next available opportunity on the Court’s docket,         command       all   parties t0 this action t0       appear

so the Guardian      Ad Litem       can present his ﬁndings of   fact,   recommendation        for non—approval of the


agreed    upon    settlement agreement and fees incurred as a result of the efforts and time exerted by


the Guardian      Ad Litem    t0 the Court for review     and approval. Guardian          Ad Litem    prays that minor,

Blaze Boney, receives        all   other and further relief both in law and equity to which he                may show

himself justly entitled.




                                               Respectfully submitted,




                                               /s/ Ronald Hurdle
                                               Ronald Hurdle
                                               SBN: 00790940
                                               LAW OFFICES 0F RONALD B. HURDLE
                                               5435 GARLAND AVENUE, SUITE 140-223
                                               GARLAND, TX 75038
                                               Phone: 972—81 3—9305
                                               ron@ronhurdlelaw.com
                                               Guardian   Ad Lz'iemfor minor,   Blaze B07191




Guardian      Ad Litem’s Request for Hearing t0      Present Report and Guardian        Ad Litem Fees   -   Page   3
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                      Page 31 of 101 PageID 36



                                          CERTIFICATE 0F SERVICE

        Ihereby    certify that a true   and correct copy of the foregoing document has been served in
accordance With Rules 21 and 21a 0f the TEXAS RULES 0F CIVIL             PROCEDURE on this 3 1“ day 0f
January 2018 upon the following attorney(s) of record:


Stephen Clark
stephen@ucalaw.com
UDESHI CLARK & ASSOCIATES
2201 Main    St. Ste.   1250
Dallas, Texas 75201
Attorney for Next Friends, Brandon Boney and Crystal-Jones Boney


Melanie K. Okon
mokon@okonhannagan.com
Sarika Patel
spatel@okonhanna9an.com
OKON HANNAGAN, PLLC
One   Galleria   Tower
13355 Noel Road, Suite 1900
Dallas, Texas 75240
Attorney for Defendant, Lowe’s       Home Centers, LLC




                                            RONALD HURDLE
                                                          M

Guardian   Ad Litem’s    Request for Hearing t0 Present Report and Guardian   Ad Litem Fees   -   Page 4
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                                                                   Exhibit Q


                                                    CAUSE No. DC-I8-06098
                 BLAZE BONEY                                        §       1N     THE DISTméT COURT
                 Plaintiff,                                         §
                                                                    §
                 v.
                                                                    §       101“ JUDICIAL            COURT
                                                                    §
                                                                    §
                 LOWE’S HOME CENTERS, LLc.                          §                                f




                 Defendant                                          g       DALLAS COUNTY, TEXAS



                                             BUSINESS RECORDS AFFIDAVIT


                 BEF RE          LIE, the          ersigned authority,             0n   this day personally appéared
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                 mwing facts are true and couect:
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                 3.      “The    records-   were made    at   0r near the time oi each act event condltion
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                 4.   “The records were made by, or from information uansmitted by persons
                with knowledge of the matters set forth.


                 5.      “The records were kept           in the course 0f regular};                 conducted busmess
                activity


                6.       “It is the regular practice    of the business activity t0 make the records.”




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            From Metrop1ex Foot and Ank1e LLP 1.214.217.3669                               Fr'i   Feb 22 09 44 23 2019 MST Page 6 of 9
             Case 3:19-cv-01211-S
From: Ericka Hernandez
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                                                                                           Afﬁant

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                          ”'       60““
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                                                                                                                                     Darling Tellez



                                                            CAUSE NO. DC-18-06098                       l




               BLAZE HONEY                                               §      IN THE DISTRICT COURT
               Plaintiff,                                                 §
                                                                         §
               v.
                                                                         §      101*‘JUDICIAL COURT
                                                                         §
                                                                         §
               LOWE’s HOME CENTERS, LLC.                                 §
               Defendant                                                  §     DALLAS COUNTY, TEXAS



                                 AFFIDAVIT OF COST OF SERVICE BY CUS’IEODIAN


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                         "I,   the undersigned           am over       18 years 0f age of sound mind, and fully
               competent         to   make    this affidavit       I   have personal knowiedge 01 the facts stated
               herein and the} are            all true   and   correct.


                         ”I    am the custodian Ofthe records of
               Attached hereto are billing records that
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               service and the charge for the services that
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               provided to BLAZE BONEY. The attache billing records are incorporated as a
               part 0f this afﬁdavit.
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               thereof t0 be included in such record; and the record was made at 0r near the time
               0r reasonably soon thereafter. The records attached hereto are the original 0r exact
               duplicates 0f the original.


                     “The service provided was necessary and the amount charged for the service
               was reasonable at the time and place the service was provided. "

               Boney-Aiﬁdavit of Cost of Sewice                                                                      Page     l   of 2
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                                   To: zualrﬂﬂgrckncom Fax:05/20/19
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                                     ERICKA HERNANDEZ
                                         Public, State of
                                          Expires 11-12-2022
                                     Notary ID
                                                            Texas


                                                    131793031
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               BjﬁEy-Aﬁ'ldavit of Cost of Service                                                        Page 2 of 2
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                                                To: z1a-320-11:n@rcfax.com
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                                                                                              Exhibit R                                                                                        Darling Tellez



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                         i
                              BLAZE BONE)!                                        _‘




                                                                                                           §            IN THE DISTRICT                              COURT
         ,, ._                Plaintiff,                                                           ,
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                              v.‘
                                        _
                                                                                                           §            1015f JUDICIAL COURT



                              LOWE’S HOME CENTERS, LLC.                                                    §                                  _
                                                                                                                                                             '




                              Defendant                                                        ‘

                                                                                                           §           DALLAS COUNTY, TEXAS



                                                                              BUSINESS RECORDS AFFIDAVIT


                              BEFO? ME the undersigned                                                 authority,            0n   thisday personally appeared
                              Fa,    (2 Ami] a»                                                                        ,     who    swore on oath that the
                              following facts are trueUand conect.

             v"
                              1.                     “I       am  the custodian 0f records of                              /a£ 9/                     (:9 [kn                     ﬂax
         -
                             -and                   am       familiar with the manner in which                         its   records are created and maintained                                     -




                              by        virtue of               my   duties   and responsibilities.

                              2.                     “Attached are        3Q           pages of records. These are the original records or exact
                              duplicates of the original records.


                              3.  .“The records were made
                                    V                                                         at or        near the time of each                      act, event, condition,
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                             4.    “The records were made by, 0r from information transmitted
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                                                                                              by, persons
                             with knowledge of the matters set forth


                             5.                      “The records were kept                   in the course of regularly                                  conducted business
                             activity.


                             6.                      “It is the regular practice             of the business activity to make the records.”
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Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                                                                      Page 38 of 101 PageID 43




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  D See Statement Below                                           (Lines 1—6 to    be completed only by document                     signer[s], not Notary)

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                         Signature of Document Signer No.


      A notary public or other officer completing
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                                                                                   this certiﬁcate verifies only
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                                                                                                                  Signature of Document Signer No.                                 2   (if   any)


                                                                                                                       the identity of the individual        who signed        the         document
      to   which              this certificate               is   attached, and not the truthfulness, accuracy. or validity of that document.



 State of California                                                                                      Subscribed and sworn to                  (or   afﬁrmed) before                     me
 Countyof                                                                                                 on    this
                                                                                                                          6H“         day of      Februar“                             _   20 19
                                                                                                          by              Date                               Month“,                              Year

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                Place Notary Seal and/or Stamp                                      Above
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                                                           Completing     this   information can deter alteration of the                     document or
                                                            fraudulent reattachment of            this   form to an unintended document.

      Description of Attached                                          Document

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                                                                                                                                                                               Darling Tellez
                                                                                 Exhibit S


                                                                      CAUSE NO. DC-18-06098
                    BLAZE HONEY                                                     §                 1N THE DISTRICT                     COURT
                    Plaintiff,                                                      §
                                                                                    §
                    v.                                                              §     '
                                                                                              '



                                                                                                      101"JUDICIAL                COURT

                                                                                    3
                    LOWE'SHOME, CENTERS, LLC.                                       §
                    Defendant                                                       §                 DALLAS COUNTY, TEXAS



                                        AFFIDAVIT OF COST OF SERVICE BY CUSTODIAN


                                    E                          e       ersigned authority, on this day personally appeared
                                                                                                       ,   Who swore on oath that the
                    following facts are true.


                               "I,   the undersigned,                am over    18 years of age, of sound mind, and fully
                    competent to make                   this affidavit.        Ihave personal knowledge of the                              facts stated
                    herein and they are                 all   true   and correct.

                               n1    am the    custodian of the records
                   Attached hereto are billing records that
                   service and the charge for the services
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                   provided to BLAZE BONEY. The attached                                              biI ing recoras are          incorporated as a
                   part of this afﬁdavit.


                          "The attached records are kept y e in e re ular course of b si ss, and                                                                      it

                   was the regular course of business of
                   fer an employee or representative with knowledge f the act, event, condition,
                   opinion, or diagnosis, recorded to                          make     the record or to transmit information
                   thereof to be included in such record; and the record                                           was made at or near the                time
                   or reasonably soon thereafter.                       The records attached hereto                       are the original or exact
                   duplicates of the original.


                         "The service provided was necessary and the amount charged for the service
                   was reasonable at the time and place the sewice was provided."
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                                                                                                              Darling Tellez

                                           CAUSE N0. DC-18-06098


BLAZE BONEY                                           §         IN   THE DISTRICT COURT
Plaintiff,                                            §
                                                      §
v.                                                    §         101“   JUDICIAL COURT
                                                      §
                                                      §
LOWE’S HOME CENTERS, LLC.                             §
Defendant                                             §         DALLAS COUNTY, TEXAS


                                    AGREED NOTICE OF SETTLEMENT

          Notice  hereby given to the Court that the parties have reached a settlement in this case
                    is

and hereby request that the Court remove the current trial setting. Upon payment 0f the agreed
to settlement, the parties intend 0n nonsuiting this lawsuit and permanently removing it from the
Court’s docket.          The   parties therefore request that the Court       remove   the current   trial   setting to
allow the parties to execute their settlement agreement.


                                                      Respectfully submitted,


                                                      Clark   Law Group
                                                      2201 Main      St.,   Suite 1250,
                                                      Dallas,   TX 75201
                                                      Ph:(469) 906-2266
                                                      Fax:(469) 906-2299


                                                      By:/s/Stephen Clark
                                                           Stephen Clark
                                                           StateBar No. 24078349
                                                           stephen@clgtx.c0m
                                                          Attorney for Plaintiff



AGREED:

Okon Hannagan, PLLC
One Galleria Tower
13355 Noel Rd., Ste. 1900
Dallas, TX 75240
Ph:(214) 396—9650
Fax:(214) 909-61 15



Blaze Boney-Notice of Settlement                                                                               Page   1   of 2
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 42 of 101 PageID 47



By.‘_/s/ Sarika Patel
     Sarika Patel
      State Bar N0. 24073520
      spatel@0konhannagan.com
      Attorney for Defendant




Blaze Boney-Notice of Settlement                                        Page 2 of 2
                                          Exhibit U
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19               Page 43 of 101 PageID 48




                                101st DISTRICT COURT
                        GEORGE L. ALLEN, SR. COURTS BUILDING
                           600 COMMERCE STREET, SUITE 685
                                DALLAS, TEXAS 75202
                                    214-653-6937

                                                                April 01, 2019

 RON HURDLE
 5435 NORTH CARLAND AVE
 SUITE 140-223
 GARLAND TX 75040


 RE:    Possible Dismissal for Want of Prosecution (DWOP)
        DC-18-06098
        Blaze Boney vs. Lowe' Home Centers, LLC.

 To: All Counsel of Record and/or PRO SE litigants:

         Although the parties have previously announced a settlement in this case, final
 documents have not been furnished to the Court for entry. It is t erefore the Court's
 intention to dismiss this cause for want of prosecution (DWOI?).

         A dismissal hearing is set for 04/30/2019 @9:00 AM. In lieu of appearing, you may


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 furnish the final documents before the hearing, or you may simply allow the DWOP by
 you failure to appear.

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                                                      Staci Williams
                                                      DISTRICT JUDGE
                                                      101ST DISTRICT COURT
                                                      DALLAS COUNTY, TEXAS
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  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19           Page 44 of 101 PageID 49            FELICIA PITRE
                                                                                               DISTRICT CLERK




                                CAUSE NO. DC-18-06098

 BRANDON BONEY AND                         §          IN THE DISTRICT COURT
 CRYSTAL JONES-BONEY,AS                    §
 NEXT OF FRIEND FOR BLAZE                  §
 BONEY
   Plaintiff,                              §
                                           §
 v.                                        §             1018T JUDICIAL COURT
                                           §
 LOWES HOME CENTERS, LLC.                  §
   Defendant.                              §          DALLAS COUNTY,TEXAS


               PLAINTIFFS' NOTICE OF NONSUIT WITH PREJUDICE



TO THE HONORABLE COURT:

          COMES NOW, Plaintiffs Brandon Boney and Crystal Jones - Boney,

Individually and as Next of Friend for Blaze Boney, and respectfully file this Notice

of Nonsuit with Prejudice. Pursuant to Texas Rule of Civil Procedure 162, Plaintiffs

hereby give notice that they are taking a nonsuit of their entire case against

Defendant, Lowe's Home Centers, LLC. This nonsuit is with prejudice to refiling

and is effective immediately on the filing of this notice.

DATED: April 23, 2019

                                        Respectfully submitted,




Blaze Boney-Notice of Nonsuit                                                   Page 1 of 2
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19         Page 45 of 101 PageID 50



                                        UDESHI CLARK & ASSOCIATES


                                        By: ls/Stephen Clark
                                            Stephen Clark
                                            Texas Bar No. 24078349
                                            Email: stephen@clgtx.com
                                            2201 Main St., Ste. 1250
                                            Dallas, TX 75201
                                            Tel. (469) 906-2266
                                            Fax. (469) 906-2299

                                        COUNSEL FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE

      I hereby certify that on this the 23rd day of April 2019, a true and correct copy
of the above and foregoing has been served upon the following counsel in
accordance with the Texas Rules of Civil Procedure.

VIA EMAIL:

MELANIE K. OKON
State Bar No. 24012951
Email: mokon@okonhannagan.com
SARIKA PATEL
State Bar No. 24073520
Email: spatel@okonhannagan.com

One Galleria Tower
13355 Noel Road, Suite 1900
Dallas, TX 75240
Telephone: 214-396-9650
Facsimile: 469-909-6115

COUNSEL FOR DEFENDANT

                                        ls/Stephen Clark
                                        Stephen Clark

Blaze Boney-Notice of Nonsuit                                                   Page 2 of 2
                                                  Exhibit W
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19               Page 46 of 101 PageID 51




                                101st DISTRICT COURT
                        GEORGE L. ALLEN, SR. COURTS BUILDING
                           600 COMMERCE STREET, SUITE 685
                                DALLAS, TEXAS 75202
                                    214-653-6937

                                                                April 30, 2019

 RON HURDLE
 5435 NORTH CARLAND AVE
 SUITE 140-223
 GARLAND TX 75040


 RE:    Possible Dismissal for Want of Prosecution (DWOP)
        DC-18-06098
        Blaze Boney vs. Lowe' Home Centers, LLC.

 To: All Counsel of Record and/or PRO SE litigants:

         Although the parties have previously announced a settlement in this case, final
 documents have not been furnished to the Court for entry. It is t erefore the Court's
 intention to dismiss this cause for want of prosecution (DWOI?).

         A dismissal hearing is set for 06/ 112019 @9:00 AM. In lieu of appearing, you may


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 furnish the final documents before the hearing, or you may simply allow the DWOP by
 you failure to appear.

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                                      Exhibit X
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 47 of 101 PageID 52                        FELICIA PITRE
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                                                                              Margaret Thomas
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 48 of 101 PageID 53
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 49 of 101 PageID 54
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 50 of 101 PageID 55
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 51 of 101 PageID 56
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 52 of 101 PageID 57
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 53 of 101 PageID 58
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 54 of 101 PageID 59
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 55 of 101 PageID 60
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 56 of 101 PageID 61
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 57 of 101 PageID 62
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19   Page 58 of 101 PageID 63
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    Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                                        Page 59 of 101 PageID 64                 FELICIA PITRE
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                                                                            □
                                                       The Law Office of Ronald B. Hurdle
                                                                                                                                           Margaret Thomas




May 2, 2019


Via Electronic Filing

Sarika Patel
Melanie K. Okon
OKON HANNAGAN PLLC
One Galleria Tower
13355 Noel Road, Suite 1900
Dallas, Texas 75240

Stephen Clark
UDESHI CLARK & ASSOCIATES
2201 Main Street, Suite 1250
Dallas, Texas

       Re:    Cause No. DC-18-06098; Brandon Boney and Crystal Jones-Boney as Next Friend of
              Blaze Boney v. Lowe's Home Centers, LLC; in the 10i st District Court, Dallas County,
              Texas

Counsel:

I have it on good authority that a Release has been executed in this matter releasing the Defendant
from ALL claims and a check has been forwarded as consideration for the executed Release. Ms.
Okon, please forward me a copy of the "executed" Release you received from the Plaintiff. Mr. Clark,
please forward me a copy of the check you received from the Defendant reflecting the consideration.
You can email these documents to me at ronhurdlelaw.com. Your prompt response to this request is
highly appreciated. Thank you very much.


                                                                  Sincerely,

                                                                  /s/ Ronald B. Hurdle

                                                                  Ronald B. Hurdle, m, LL.M, MBA, MM
                                                                  Guardian Ad Litem for Blaze Boney

cc: Judge Staci Williams



                  5435 Garland Avenue, Suite 140-223    □ Garland, Texas 775040-2787 □   Voice (214) 402-3599   □   ron@ronhurdlelaw.com
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                                                                                             Darling Tellez

                                 CAUSE NO. DC-18-06098

 BRANDON BONEY AND                             §              IN THE DISTRICT COURT
 CRYSTAL JONES-BONEY, AS                       §
 NEXT OF FRIEND FOR BLAZE                      §
 BONEY                                         §
   Plaintiff,                                  §
                                               §
 v.                                            §                   101ST JUDICIAL COURT
                                               §
 LOWES HOME CENTERS, LLC.                      §
   Defendant.                                  §               DALLAS COUNTY, TEXAS


       MOTION TO ADOPT MOTION TO SET ASIDE AND/OR VACATE
                      PLAINTIFFS NONSUIT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, PLAINTIFF'S, BRANDON BONEY and CRYSTAL JONES­

BONEY, AS NEXT OF FRIEND FOR BLAZE BONEY, in the above styled and numbered

cause, and files this, their Motion to Adopt the Guardian Ad Litem's Motion to Set Aside

and/or Vacate Plaintiff's Nonsuit, and would show the Court the following:

                                              I.

       Plaintiffs request that the Court allow them to adopt the Guardian Ad Litem's Motion

to Set Aside and/or Vacate Plaintiff's Nonsuit and the rulings thereon be adopted by reference

on behalf of the Plaintiff's in this case. Such motion is essential to the Plaintiffs receiving a

just amount for their causes of action against Defendant.

                                        II.   PRAYER

       WHEREFORE, Plaintiffs pray that this Motion to Adopt be GRANTED and that the

Guardian Ad Litem's Motion to Set Aside and/or Vacate Plaintiff's Nonsuit thereon be




                                                                                               1
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19             Page 61 of 101 PageID 66


adopted. Further, Plaintiffs pray for such other general, legal, and equitable relief to which

they may be justly entitled.



                                               Respectfully submitted,

                                               BY:/s/ Jennifer Ashmore
                                               Jennifer Ashmore
                                               Bar No. 24031019
                                               Kesney Nichols
                                               Bar No. 24105874
                                               Ashmore & Ashmore
                                               304 N. San Jacinto
                                               Rockwall, Texas 75087
                                               972.325.5938 (T)
                                               972.349.1759 (F)
                                               jennifer@ashmorelawfirm.com
                                               kesney@ashmorelawfirm.com

                                               ATTORNEYS FOR PLAINTIFF




                                                                                            2
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19             Page 62 of 101 PageID 67


                               CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing instrument was served in

accordance with the Texas Rules on the 7th day of May 2019.


VIA E-SERVE:
Stephen Clark
2201 Main Street, Suite 1250,
Dallas, Texas 75201
Plaintiff'sformer Attornry

Melanie K. Okon
13355 Noel Road, Suite 1900,
Dallas, Texas 75240
Attornry for Defendant

Ronald Hurdle
5435 Garland Avenue, Suite 140-223,
Garland, Texas 75038
Guardian Ad Litem




                                               Is I Jennifer Ashmore
                                               Jennifer Ashmore




                                                                                            3
                                                                                                        FILED
                                                                                           DALLAS COUNTY
                                       Exhibit A-1                                         5/7/2019 11 :36 AM
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19             Page 63 of 101 PageID 68        FELICIA PITRE
                                                                                           DISTRICT CLERK



                                                                               Margaret Thomas

                             CAUSE No. DC-18-06098

BRANDON BONEY AND                            §          IN THE DISTRICT COURT
CRYSTAL JONES-BONEY,                         §
AS NEXT OF FRIBND FOR                        §
BLAZE BONEY, A MINOR,                        §
PLAINTIFFS                                   §
                                             §
                                             §
v.                                           §            101st JUDICIAL DISTRICT
                                             §
LOWE'S HOME CENTERS,                         §           DALLAS COUNTY, TEXAS
LLC,
DEFENDANT


             NOTICE OF APPEARANCE AS RETAINED COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

      Now comes the undersigned attorney and files this Notice of Appearance as retained
counsel in the above-styled and numbered cause.

                                         Respectfully submitted,

                                                 Ashmore & Ashmore

                                       By:       / s Jennifer Ashmore/
                                                 Jennifer Ashmore
                                                 State Bar No. 24031019
                                                 KC Ashmore
                                                 State Bar No. 24040451

                                                 304 N. San Jacinto St.
                                                 Rockwall, Texas 75087
                                                 (972) 325-5938 Telephone
                                                 (972) 349-1759 Facsimile
                                                 jennifer@ashmorelawfirm.com

                                                 Attorney for Plaintiffs



NOTICE OF APPEARANCE
                                       Page 1 of 2
   Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19            Page 64 of 101 PageID 69


                                 CERTIFICATE OF SERVICE

        I hereby certify on this ih day of May 2019, that a true and correct copy of the
 foregoing was sent to the counsel of record identified below by electronic filing:

Stephen Clark
stephen@ucalaw.com
UDESHI CLARK & ASSOCIATES

Sarika Patel
spatel@okonhannagan.com
OKON HANNAGAN, PLLC

Ronald Hurdle
ron@ronhurdlelaw.com
Guardian Ad Litem for minor, Blaze Boney




 NOTICE OF APPEARANCE
                                           Page 2 of 2
                                            Exhibit B-1
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19           Page 65 of 101 PageID 70


                               CAUSE NO. DC-18-06098

BRANDON          BONEY     AND§                            IN THE DISTRICT COURT
CRYSTAL       JONES-BONEY,  AS§
NEXT OF FRIEND FOR BLAZE§
BONEY                         §
   Plaintiff,                 §
                              §
v.                            §                               1015T JUDICIAL COURT
                              §
LOWES HOME CENTERS, LLC.      §
   Defendant.                 §                            DALLAS COUNTY, TEXAS


  ORDER ON PLAINTIFF'S MOTION TO ADOPT MOTION TO SET ASIDE
             AND/OR VACATE PLAINTIFFS' NONSUIT


        On this date, the Court considered the Plaintiffs' Motion to Adopt the Guardian Ad

Litem's Motion to Set Aside and/or Vacate Plaintiffs' Nonsuit, and finding good cause,

GRANTS the motion and rulings on said motion are hereby adopted by reference for

Plaintiffs.

SIGNED on __________




                                         Judge Presiding




                                                                                        1
                                                                                                               FILED
                                      Exhibit C-1                                                  DALLAS COUNTY
                                                                                                    5/8/2019 7:29 PM
    Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19            Page 66 of 101 PageID 71              FELICIA PITRE
                                                                                                   DISTRICT CLERK


                                                                                      Margaret Thomas
                                  CAUSE NO. DC-18-06098

    BRANDON BONEY AND CRYSTAL                  §                    IN THE DISTRICT COURT
    JONES-BONEY, AS NEXT OF FRIEND             §
    FOR BLAZE BONEY                            §
      Plaintiff,                               §
                                               §
    v.                                         §                     101ST JUDICIAL COURT
                                               §
    LOWE’S HOME CENTERS, LLC.                  §
      Defendant.                               §                 DALLAS COUNTY, TEXAS


     DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD
    LITEM’S MOTION TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND
                         REQUEST FOR SANCTIONS

         COMES NOW, Defendant Lowe’s Home Centers, LLC (“Lowe’s” or “Defendant”) and

files its response to Guardian Ad Litem’s Motion to Set Aside and or Vacate Plaintiff’s Nonsuit

and Request for Sanctions (“Motion to Set Aside Nonsuit”), and in support thereof, respectfully

shows the Court as follows:

                                            I.
                                       BACKGROUND

         1.    On May 9, 2018, Plaintiffs’ Counsel filed Plaintiff’s Original Petition with this

Court on behalf of minor Blaze Boney (“Blaze Boney”). 1 Lowe’s filed its Original Answer on July

26, 2018. 2

         2.    A few weeks after, Counsel for Plaintiffs and Counsel for Lowe’s began engaging

in informal discovery. Informal discovery revealed that actual medical damages totaled

approximately $2,000.00, there was no indication of any need for future medical expenses, and

there was no indication of any permanent injuries to Blaze Boney.




1
 See Plaintiff’s Original Petition filed with this Court.
2
 See Defendant Lowe’s Home Centers, LLC’s Original Answer filed with this Court.
DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS         1
    Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                  Page 67 of 101 PageID 72



          3.    Plaintiffs forwarded a demand for Lowe’s to review along with medical records

and bills for Blaze Boney. Based on this information and the amount Plaintiff was demanding,

Lowe’s prepared a counter-offer for Plaintiff’s review. After several settlement negotiations, the

parties agreed on a settlement number, well in excess of the amount of actual medical damages.

          4.    Once a settlement amount was reached, Counsel for Plaintiff filed Plaintiffs’ First

Amended Petition listing Blaze Boney’s parents as next friend of Blaze Boney on September 10,

2018. 3

          5.    In efforts to move forward with settlement, on September 25, 2018, Lowe’s filed

Defendant Lowe’s Home Centers, LLC’s Agreed Motion for Appointment of a Guardian Ad

Litem. 4 This motion was filed to “protect Defendant’s interests against any future lawsuit that

could be brought by Blaze Boney arising from the same facts in this lawsuit.”

          6.    On October 5, 2018, this Court appointed Ronald B. Hurdle (“Mr. Hurdle”) as the

Guardian Ad Litem to represent Blaze Boney’s interests in this lawsuit. 5

          7.    Although Plaintiffs and Lowe’s had previously agreed to a settlement amount, Mr.

Hurdle refused to recommend a settlement of Plaintiffs’ claims. On January 18, 2019, Mr. Hurdle

prepared a report and indicated that he was prepared to recommend a settlement to the Court that

would afford Blaze Boney a recovery of no less than Twenty-Five Thousand Dollar ($25.000) –

more than 12 times the actual damages alleged – over and above medical bills paid and/or incurred

and attorneys’ fees. Mr. Hurdle based this assessment on his personal opinion that Plaintiff would

be able to establish gross negligence against Lowe’s – which Lowe’s adamantly disputes and

which is explained more in detail below.



3
  See id.
4
  See id.
5
  See Order Granting Defendant Lowe’s Home Centers, LLC’s Agreed Motion for Appointment of Guardian Ad
Litem signed by the Court on October 5, 2018.
DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS                               2
    Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                 Page 68 of 101 PageID 73



        8.        Once it became clear that the parties would not be able to settle Blaze Boney’s

claims with guardian ad litem approval, Lowe’s and Plaintiffs’ opted to settle Plaintiffs’ claims

without guardian ad litem and/or court approval, and Lowe’s accepted the risk that Blaze Boney

may file a lawsuit in the future to void the settlement and re-litigate his claims.

        9.        On January 29, 2019, Mr. Hurdle acknowledged that “no hearing is required to

settle the parents’ claim for the past medical bills” and that he “will generate [his] report and fees

to the court advising the Judge that [Mr. Hurdle] cannot recommend the settlement as agreed upon

for approval.” In this same email, Mr. Hurdle stated he would “send . . . a copy of [his] fee

statement for [Lowe’s] review.” Mr. Hurdle then stated that if Plaintiffs and Lowe’s “want to

contest any aspect of [his] statement, we will need to schedule a hearing.” 6

        10.       Lowe’s requested Mr. Hurdle’s guardian ad litem fees on March 15, 2019 and again

on March 18, 2019, and Mr. Hurdle stated his fees as of March 18, 2019 were in the amount of

$2,015.00. Lowe’s did not contest this amount and agreed to pay Mr. Hurdle’s guardian ad litem

fees in this amount once Mr. Hurdle submitted his invoices supporting his fees. 7

        11.       On March 20, 2019, Plaintiffs settled their claims with Lowe’s through a

confidential settlement agreement.

        12.       On March 28, 2019, Plaintiffs filed an Agreed Notice of Settlement (“Notice of

Settlement”). 8

        13.       Shortly after on April 1, 2019, the Court sent out a notice stating that although the

parties previously announced settlement in this case, final documents have not been furnished to

the Court for entry. 9 In this same notice, the Court informed Plaintiffs, Lowe’s, and Mr. Hurdle



6
  See id.
7
  See id.
8
  See Notice of Settlement filed on March 28, 2019.
9
  See Letter from Court to all Counsel of Record and/or Pro Se litigants dated April 1, 2019.
DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS                      3
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                       Page 69 of 101 PageID 74



that it was setting a dismissal hearing on April 30, 2019, and that in lieu of appearing, final

documents could be furnished to the Court. 10

         14.     On April 23, 2019, after receiving their settlement proceeds, Plaintiffs filed their

final document, Plaintiffs’ Notice of Nonsuit with Prejudice (the “Nonsuit”), with this Court.11

         15.     On May 1, 2019, Mr. Hurdle filed his Motion to Set Aside Nonsuit in which he

requested a copy of the release between Plaintiffs and Lowe’s to “ensure that the interest and legal

rights of [his] client have not been compromised.” 12 Lowe’s has informed Mr. Hurdle on several

instances that the release entered by Plaintiffs and Lowe’s does not intend to affect Blaze Boney’s

interests. 13

                                            II.
                                 ARGUMENTS AND AUTHORITIES

A.       Blaze Boney’s rights have not been compromised as a matter of law.

         16.     A person is under a legal disability if the person is younger than 18 years of age. 14

If a person entitled to bring a personal action is under a legal disability when the cause of action

accrues, the time of the disability is not included in a limitations period. 15 Where a judgment is

entered that affects a child, in which a child is either plaintiff or defendant, the child need only file

a motion showing that judgment was rendered for or against him without the agreement of an ad

litem for the judgment to be set aside. 16 Such a judgment is voidable, even where the judgment is




10
   See id.
11
   See Plaintiffs’ Notice of Nonsuit with Prejudice.
12
   See Guardian Ad Litem’s Motion to Set Aside or Vacate Plaintiff’s Nonsuit and Request for Sanctions filed on
May 1, 2019.
13
   See Exhibits A, B, and C.
14
   See Tex. Civ. Prac. & Rem. § 16.001(a)(1).
15
   See Tex. Civ. Prac. & Rem. § 16.001(b).
16
   See Jones v. Parker, 67 Tex. 76, 78 (1886); See also Kelly v. Kelly, 178 S.W. 686 (Tex.App.—Galveston 1915, no
writ); Jaynes v. Lee, 306 S.W.2d 182, 184 (Tex.App.—Texarkana 1957, no writ); Hungate v. Hungate, 531 S.W.2d
650 (Tex.Civ.App.—El Paso 1975, no writ); Brown v. State Farm Mut. Auto Ins., 449 S.W.2d 93 (Tex.Civ.App.—
Fort Worth 1969, no writ).
DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS                                        4
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                 Page 70 of 101 PageID 75



otherwise final. 17 Lowe’s entire purpose in moving for the appointment of a guardian ad litem

was to protect itself from a future suit by the minor by seeking guardian ad litem and court approval

of the settlement.

         17.   Because Blaze Boney is a minor and because the guardian ad litem has not agreed

to the settlement and this Court has not approved the settlement through a prove up hearing, any

release regarding Blaze Boney’s claims ad interests is voidable under Texas law. 18 Blaze Boney’s

statute of limitations to bring any claim that may arise out of the facts of the incident is tolled until

his eighteenth birthday, allowing Blaze Boney to bring any claims that he believes were not

resolved in his best interest until he turns twenty years old. 19 Lowe’s entered a settlement with

Blaze Boney’s parents to resolve this lawsuit and to provide Plaintiffs with relief from the medical

bills that have accrued, even though Lowe’s understands that there is a risk that Blaze Boney may

bring a future claim. The settlement amount agreed to not only covers Blaze Boney’s medical bills,

but it also compensates Plaintiffs at a multiple that is approximately five times the amount of the

actual damages Plaintiffs’ sustained in this lawsuit.

         18.   In addition, Lowe’s settlement with Plaintiffs allows for a fair and expeditious

resolution of Plaintiffs’ claims without the need for further litigation. Therefore, this Court should

find the settlement amount sufficient to dispose of Plaintiffs’ claims as pleaded in Plaintiffs’ First

Amended Petition. Because Blaze Boney’s claims and interests have not been extinguished by the

Plaintiffs entering a settlement with Lowe’s, Lowe’s asks the Court to deny Guardian Ad Litem’s

Motion to Set Aside Nonsuit.




17
   See id.
18
   See id.
19
   See Tex. Civ. Prac. & Rem. § 16.001
DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS  5
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19              Page 71 of 101 PageID 76



B.       Guardian Ad Litem’s gross negligence assessment is improper.

         19.   Grossly negligent conduct must impose an objectively higher risk than ordinary

negligence or an extreme degree of risk. 20 The test for gross negligence is both an objective and

subjective test. 21 A plaintiff may prove a defendant’s gross negligence by proving that the

defendant had actual subjective knowledge that its conduct created an extreme degree of risk. 22 To

uphold a finding of gross negligence, there must be evidence that the defendant’s conduct created

an extreme risk of harm and that the defendant was aware of the extreme risk. 23

         20.   The purpose of punitive damages is to protect society by punishing the offender

rather than to compensate the injured party. 24 A corollary to that principle of law is that punitive

damages are warranted only when the act is that of a corporation rather than the act of its “ordinary

servants or agents.” 25 A corporation commits gross negligence only through the actions or

inactions of a vice principal. 26 “Vice principal” encompasses (a) corporate officers; (b) those who

have authority to employee, direct, and discharge servants of the master; (c) those engaged in the

performance of nondelegable or absolute duties of the master; and (d) those to whom the master

has confined the management of the whole or a department or a division of the business. 27

         21.   In support of his recommendations, Mr. Hurdle alleges that Lowe’s actions

constitute gross negligence. However, Mr. Hurdle’s assessment regarding gross negligence is

incorrect. Even if the alleged condition is found to be extremely risky, there is no evidence that a

vice principal at Lowe’s was aware of the condition or of an extreme risk associated with the




20
   See Wal-Mart Stores, Inc. v. Alexander, 868 S.W.2d 322 (1993).
21
   See id. at 326.
22
   See id.
23
   See id.
24
   See Hammerly Oaks, Inc. v. Edwards, 958 S.W.2d 387, 391 (Tex. 1997).
25
   See id.
26
   See Mobil Oil Corp. v. Ellender, 968 S.W.2d 917, 922 (Tex. 1998).
27
   See id.
DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS  6
     Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19              Page 72 of 101 PageID 77



condition. Not only was a vice principal not aware of the alleged extremely dangerous conditions,

but in this case, no employee of Lowe’s was aware of the alleged condition before this incident

occurred. Because it is clear that the elements of gross negligence cannot be met to hold Lowe’s

liable for punitive damages, a gross negligence analysis should not be used by the Court in

determining whether the settlement between Plaintiffs and Lowe’s was reasonable.

C.       Lowe’s has agreed to pay Guardian Ad Litem’s reasonable fees; however, Guardian
         Ad Litem has failed to submit his invoices.

         22.   Lowe’s has offered to pay Mr. Hurdle’s reasonable guardian ad litem fees;

however, Mr. Hurdle has failed to submit his invoices and has not provided any other documents

supporting the amount of compensation he is requesting to the Court or to Lowe’s. When counsel

for Lowe’s requested Mr. Hurdle’s fees on March 18, 2019, Mr. Hurdle indicated the amount of

his total fees as of this date was $2,015.00. Lowe’s has not contested this amount and stands ready

to pay those fees once an invoice and W-9 are provided.

D.       Lowe’s owes no duty to Blaze Boney and cannot be sanctioned based on Plaintiffs’
         Counsel actions.

         23.   Lowe’s has not engaged in any actions that are sanctionable. Mr. Hurdle claims that

the filing a Notice of Nonsuit has attempted to thwart the Court’s objective of providing adequate

counsel for the minor in determining if the proposed settlement was in the best interest of the

minor. However, the minor retains the right to void the settlement agreement. 28 Lowe’s fulfilled

its obligations to Plaintiffs by paying Plaintiffs the amount reflected in the settlement agreement.

After Plaintiffs received this payment, Counsel for Plaintiffs filed the Nonsuit.

         24.   Mr. Hurdle has not cited to any authority to support that Lowe’s engaged in any

sanctionable conduct, and Lowe’s should not be sanctioned for entering settlement agreement with

Plaintiffs that allowed Plaintiffs to be compensated for the damages Plaintiffs were attempting to


 See generally Tex. Civ. Prac. & Rem. § 16.001.
28

DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS  7
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19               Page 73 of 101 PageID 78



recover in this lawsuit. In addition, Lowe’s did not file the Nonsuit that Mr. Hurdle complains of

in his Motion to Set Aside Nonsuit. Because Lowe’s did not engage in any conduct that is

sanctionable by settling Plaintiffs’ claims, this Court should deny Mr. Hurdle’s request for

sanctions against Lowe’s.

                                             III.
                                           PRAYER

        WHEREFORE, PREMISES CONDISERED, Lowe’s requests that this Court deny

Guardian Ad Litem’s Motion and grant Lowe’s all other and further relief to which it may show

itself to be justly entitled.

                                             Respectfully submitted,

                                             OKON HANNAGAN, PLLC

                                             By: /s/ Melanie K. Okon
                                                 MELANIE K. OKON
                                                 State Bar No. 24012951
                                                 Email: mokon@okonhannagan.com
                                                 SARIKA PATEL
                                                 State Bar No. 24073520
                                                 Email: spatel@okonhannagan.com

                                             One Galleria Tower
                                             13355 Noel Road, Suite 1900
                                             Dallas, TX 75240
                                             Telephone: 214-396-9650
                                             Facsimile: 469-909-6115

                                             COUNSEL FOR DEFENDANT




DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS  8
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                  Page 74 of 101 PageID 79



                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 8th day of May, 2019, a true and correct copy of the above
and foregoing has been served upon the following counsel in accordance with the Texas Rules of
Civil Procedure.

VIA EMAIL:
Stephen Clark
stephen@ucalaw.com
Kunal Udeshi
kunal@ucalaw.com
UDESHI CLARK & ASSOCIATES
2201 Main St., Ste. 1250
Dallas, Texas 75201
COUNSEL FOR PLAINTIFF
Jennifer Ashmore
Kensey Nichols
Ashmore & Ashmore
304 N. San Jacinto
Rockwall, Texas 75087
Telephone: (972) 325-5938
jennifer@ashmorelawfirm.com
kesney@ashmorelawfirm.com

COUNSEL FOR PLAINTIFF


Ron Hurdle
Law Office of Ronald B. Hurdle
5435 North Garland Ave.
Suite 140-223
Garland, Texas 75040
Telephone: 972-813-9305
ron@ronhurdlelaw.com

GUARDIAN AD LITEM



                                              /s/ Melanie K. Okon
                                              Melanie K. Okon




DEFENDANT LOWE’S HOME CENTERS, LLC’S RESPONSE TO GUARDIAN AD LITEM’S MOTION
TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT AND REQUEST FOR SANCTIONS  9
                                                        Exhibit A
           Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                     Page 75 of 101 PageID 80

Sarika Patel

From:                              Ronald Hurdle <rbhurdle@gmail.com>
Sent:                              Tuesday, January 29, 2019 11:55 PM
To:                                Melanie Okon
Cc:                                Stephen Clark; Sarika Patel; Jessica Terry
Subject:                           Re: Boney v. Lowes


You are correct Melanie. No hearing is required to settle the parents' claim for the past medical bills. I will generate my
report and fees to the court advising the Judge that I can not recommend the settlement as agreed upon for approval. I
will send you a copy of my fee statement for your review. If you want to contest any aspect of my statement, we will
need to schedule a hearing. So please advise. Thanks all.

Sent from my iPad

On Jan 29, 2019, at 5:04 PM, Melanie Okon <M0kon@okonhannagan.com> wrote:

        Stephen,

        I want to make sure we are on the same page. Are you saying that the parents only want to settle the
        case for the medical bills and leave all claims open regarding the personal injuries? Are you proposing
        that the case would continue with you representing the minor with regard to the personal injuries, or
        are you proposing to nonsuit or dismiss the case? If the minor's claims are not being settled, I don't
        think we would need to have the hearing at all. However, I am not sure my client would want to
        partially settle the case, so I would need to discuss that with them.

        Thanks,

        Melanie


                  ie Kemp
        Pattner
        Okon Hannagan, PLLC
        One Galleria Tower
        13355 Noel Road, Suite 1900
        Dallas, TX 75240
        p: 214.396.9650 (main)
           214.396.9651 (direct)
        f: 469.909.6115
        w: www.okonhannagan.com
        e: mokon@okonhannagan.com

        <image00l.png> <image003.jpg> <image00S.png>

        <image006.jpg><image008.jpg> <image009.jpg>

        From: Stephen Clark <stephen@clgtx.com>
        Sent: Tuesday, January 29, 2019 4:01 PM
        To: Melanie Okon <M0kon@okonhannagan.com>; rbhurdle@gmail.com


                                                              1
   Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                                     Page 76 of 101 PageID 81
Cc: Sarika Patel <SPatel@okonhannagan.com>; Jessica Terry <jterry@okonhannagan.com>
Subject: RE: Boney v. Lowes

Good afternoon:

I attempted to contact Mr. Hurdle today and was unsuccessful. I believe the parents are in agreement
to settle their portion of the claim and then leave the portion of the child's claim open. Mr. Hurdle can
continue doing whatever it is he needs to do. Let's set up some time to present this to the Court. I
guess Mr. Hurdle can then explain himself to the Judge.

Best Regards,

Stephen Clark
<image026.jpg>
2201 Main St., Ste. 1250
Dallas, TX 75201
Direct: (469) 906-2266
Fax: (469) 906-2299

<image027.png>

Visit our website at: http://www.clgtx.com

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by electronic means.



From: Melanie Okon <M0kon@okonhannagan.com>
Sent: Thursday, January 10, 2019 10:58 AM
To: rbhurdle@gmail.com
Cc: Stephen Clark <stephen@clgtx.com>; Sarika Patel <SPatel@okonhannagan.com>; Jessica Terry
<jterry@okonhannagan.com>
Subject: Fwd: Boney v. Lowes

Re-sending.

Sent from my iPhone

Begin forwarded message:

           From: Melanie Okon <M0kon@okonhannagan.com>
           Date: January 10, 2019 at 9:50:26 AM CST
           To: Stephen Clark <stephen@clgtx.com>, Ronald Hurdle <rbhurdle@gmail.com>, Sarika
           Patel <spatel@okonhannagan.com>
           Cc: Jessica Terry <jterry@okonhannagan.com>
           Subject: RE: Boney v. Lowes

            Mr. Hurdle:


                                                                             2
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                    Page 77 of 101 PageID 82
    I certainly understand and agree with Mr. Clark's frustration. We will forgo having a call
    this morning.

    Since you have advised us that you will not recommend the current settlement
    agreement agreed to by the parties, will you please let us know what amount you would
    be willing to recommend so the parties can decide whether to abandon this process or
    go forward? We are not interested in churning up fees with continued new negotiations
    with you as ad litem, so we would just like to assess whether this process has any
    chance of being productive and, if not, we will advise our client to settle with Plaintiffs
    without court approval and take the chance that Blaze Boney may re-assert claims when
    he reaches adulthood. We are not interested in running up ad litem fees to an amount
    rivaling the amount in controversy. And, I'm sure Plaintiffs would like to get this matter
    resolved quickly so they can get the payment from Lowe's for the medical bills.

    Thank you,

    Melanie


              ie Kemp 0
    Partner
    Okon Hannagan, PLLC
    One Galleria Tower
    13355 Noel Road, Suite 1900
    Dallas, TX 75240
    p: 214.396.9650 (main)
       214.396.9651 (direct)
    f: 469.909.6115
    w: www.okonhannaqan.com
    e: mokon@okonhannagan.com

    <image028.png> <image029.jpg> <image030.png>

    <image031.jpg><image032.jpg> <image033.jpg>

    From: Stephen Clark <stephen@clgtx.com>
    Sent: Thursday, January 10, 2019 9:40 AM
    To: Melanie Okon <M0kon@okonhannagan.com>; Ronald Hurdle
    <rbhurdle@gmail.com>; Sarika Patel <SPatel@okonhannagan.com>
    Cc: Jessica Terry <jterry@okonhannagan.com>
    Subject: RE: Boney v. Lowes

    Good morning:

    I may have spoken too soon. I have other meetings that were scheduled prior to the
    short notice I was provided. I will not be able to be in attendance at the conference
    call. I also am not going to continue wasting my time with conference calls on this case
    that are continuously cancelled and rescheduled. Please send all further
    correspondence in writing to my office. Thank you.

    Best Regards,

    Stephen Clark
                                                 3
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                                 Page 78 of 101 PageID 83
    <image026.jpg>
    2201 Main St., Ste. 1250
    Dallas, TX 75201
    Direct: (469) 906-2266
    Fax: (469) 906-2299

    <image027.png>

    Visit our website at: http://www.clgtx.com

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    From: Melanie Okon <M0kon@okonhannagan.com>
    Sent: Thursday, January 10, 2019 9:32 AM
    To: Ronald Hurdle <rbhurdle@gmail.com>; Sarika Patel <SPatel@okonhannagan.com>
    Cc: Stephen Clark <stephen@clgtx.com>; Jessica Terry <jterry@okonhannagan.com>
    Subject: RE: Boney v. Lowes

    Mr. Hurdle:

    There is no applicable insurance in this matter, as the amount in controversy is less than
    Lowe's self-insured retention.

    Melanie


                ie Kemp 0
    Partner
    Okon Hannagan, PLLC
    One Galleria Tower
    13355 Noel Road, Suite 1900
    Dallas, TX 75240
    p: 214.396.9650 (main)
       214.396.9651 (direct)
    f: 469.909.6115
    w: www.okonhannaqan.com
    e: mokon@okonhannagan.com

    <image034.png> <image035.jpg> <image036.png>

    <image037.jpg><image032.jpg> <image038.jpg>

    From: Ronald Hurdle <rbhurdle@gmail.com>
    Sent: Thursday, January 10, 2019 8:16 AM
    To: Sarika Patel <SPatel@okonhannagan.com>
    Cc: Stephen Clark <stephen@clgtx.com>; Melanie Okon <M0kon@okonhannagan.com>
    Subject: Re: Boney v. Lowes
                                                                     4
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                             Page 79 of 101 PageID 84

    Again I apologize for yesterday. Still waiting on Stephen to confirm today, Thursday, Jan
    10th at 10:00 am to confirm attendance on our conference call. Sarika, in the interim,
    would you confirm the limits of your client's CGL and any other policies that may apply. I
    will need this information for my Ad Litem report to the court. Thanks all.

    Sent from Ron's iPhone

    On Jan 9, 2019, at 2:22 PM, Sarika Patel <SPatel@okonhannagan.com> wrote:

            Ron,

            Stephen, Melanie, and I waited on the conference call for
            approximately 15 minutes, but it seems as if something came up
            with you. Please let us know what time you would like us to
            reconvene.

            Thank you,

            Sarika

            From: Stephen Clark <stephen@clgtx.com>
            Sent: Wednesday, January 9, 2019 2:07:38 PM
            To:Ronald Hurdle; Sarika Patel
            Subject: RE: Boney v. Lowes

            Mr. Hurdle:

            We are on the conference call waiting for you to join. Please let me
            know if you are still planning on attending our call.

            Best Regards,

            Stephen Clark
            <image003.jpg>
            2201 Main St., Ste. 1250
            Dallas, TX 75201
            Direct: (469) 906-2266
            Fax: (469) 906-2299

            <image002.png>

            Visit our website at: http://www.clgtx.com

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            agreement by electronic means.

                                                                  5
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19              Page 80 of 101 PageID 85

         From: Ronald Hurdle <rbhurdle@gmail.com>
         Sent: Monday, January 7, 2019 5:40 PM
         To: Sarika Patel <SPatel@okonhannagan.com>; Stephen Clark
         <stephen@clgtx.com>
         Subject: Re: Boney v. Lowes

         Let's use (515) 604-9626 with the access code of 829300. Talk on
         Wednesday the 9th at 2pm.


         Ronald B. Hurdle
         Attorney at Law
         JD, MBA, LL.M, MM


          On Mon, Jan 7, 2019 at 5:34 PM Sarika Patel
          <SPatel@okonhannagan.com> wrote:
          Thank you Ron. We look forward to discussing with you on Wednesday
          the 9th at 2pm. Can you please circulate a conference line for the
          parties to use?

          Thank you,

          Sarika



          From: Ronald Hurdle <rbhurdle@gmail.com>
          Sent: Monday, January 07, 2019 5:31 PM
          To: Sarika Patel <SPatel@okonhannagan.com>
          Subject: Boney v. Lowes

           In preparation for our conference call on Wednesday. Please confirm
           time and conference call information. See the attached photos.



          Ronald B. Hurdle
          Attorney at Law
          JD, MBA, LL.M, MM




                                            6
                                                    Exhibit B
           Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                    Page 81 of 101 PageID 86

Sarika Patel

From:                             Ronald Hurdle <rbhurdle@gmail.com>
Sent:                             Tuesday, January 29, 2019 11:59 PM
To:                               Melanie Okon
Cc:                               Stephen Clark; Sarika Patel; Jessica Terry
Subject:                          Re: Boney v. Lowes


You should also understand that Steve does not represent Blaze in this case and cannot settle his claims. That is why I
was appointed. You also need to know that there is nothing preventing the court from appointing an "attorney'' ad Iitem
(vs Guardian ad litem) to represent Blaze with a new and separate lawsuit for his general and exemplary damages.

Sent from my iPad

On Jan 29, 2019, at 5:04 PM, Melanie Okon <M0kon@okonhannagan.com> wrote:

        Stephen,

        I want to make sure we are on the same page. Are you saying that the parents only want to settle the
        case for the medical bills and leave all claims open regarding the personal injuries? Are you proposing
        that the case would continue with you representing the minor with regard to the personal injuries, or
        are you proposing to nonsuit or dismiss the case? If the minor's claims are not being settled, I don't
        think we would need to have the hearing at all. However, I am not sure my client would want to
        partially settle the case, so I would need to discuss that with them.

        Thanks,

        Melanie


        Melanie Kemp Okon
        Partner
        Okon Hannagan, PLLC
        One Galleria Tower
        13355 Noel Road, Suite 1900
        Dallas, TX 75240
        p: 214.396.9650 (main)
           214.396.9651 (direct)
        f: 469.909.6115
        w: www.okonhannaqan.com
        e: mokon@okonhannaqan.com

        <image001.png> <image003.jpg> <image00S.png>

        <i mage006.j pg><image008.jpg> <image009.jpg>

        From:  Stephen Clark <stephen@clgtx.com>
        Sent: Tuesday, January 29, 2019 4:01 PM
        To: Melanie Okon <M0kon@okonhannagan.com>; rbhurdle@gmail.com
        Cc: Sarika Patel <SPatel@okonhannagan.com>; Jessica Terry <jterry@okonhannagan.com>
        Subject: RE: Boney v. Lowes
                                                             1
   Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                                     Page 82 of 101 PageID 87

Good afternoon:

I attempted to contact Mr. Hurdle today and was unsuccessful. I believe the parents are in agreement
to settle their portion of the claim and then leave the portion of the child1 s claim open. Mr. Hurdle can
continue doing whatever it is he needs to do. Let1 s set up some time to present this to the Court. I
guess Mr. Hurdle can then explain himself to the Judge.

Best Regards,

Stephen Clark
<image026.jpg>
2201 Main St., Ste. 1250
Dallas, TX 75201
Direct: (469) 906-2266
Fax: (469) 906-2299

<image027.png>

Visit our website at: http://www.clgtx.com

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copying, distribution or the taking of any action in reliance on the contents of this message or its attachments is strictly prohibited, and may be
unlawful. Unintended transmission does not constitute waiver of the attorney-client privilege or any other privilege. If you have received this
communication in error, please immediately notify us by telephone and destroy the original message. Thank you.Unless expressly stated otherwise,
nothing contained in this message should be construed as a digital or electronic signature, nor is it intended to reflect an intention to make an agreement
by electronic means.


From: Melanie Okon <M0kon@okonhannagan.com>
Sent: Thursday, January 10, 2019 10:58 AM
To: rbhurdle@gmail.com
Cc: Stephen Clark <stephen@clgtx.com>; Sarika Patel <SPatel@okonhannagan.com>; Jessica Terry
<jterry@okonhannagan.com>
Subject: Fwd: Boney v. Lowes

Re-sending.

Sent from my iPhone

Begin forwarded message:

           From: Melanie Okon <MOkon@okonhannagan.com>
           Date: January 10, 2019 at 9:50:26 AM CST
           To: Stephen Clark <stephen@clgtx.com>, Ronald Hurdle <rbhurdle@gmail.com>, Sarika
           Patel <spatel@okonhannagan.com>
           Cc: Jessica Terry <jterry@okonhannagan.com>
           Subject: RE: Boney v. Lowes

           Mr. Hurdle:

           I certainly understand and agree with Mr. Clark1 s frustration. We will forgo having a call
           this morning.

                                                                            2
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                   Page 83 of 101 PageID 88
    Since you have advised us that you will not recommend the current settlement
    agreement agreed to by the parties, will you please let us know what amount you would
    be willing to recommend so the parties can decide whether to abandon this process or
    go forward? We are not interested in churning up fees with continued new negotiations
    with you as ad !item, so we would just like to assess whether this process has any
    chance of being productive and, if not, we will advise our client to settle with Plaintiffs
    without court approval and take the chance that Blaze Boney may re-assert claims when
    he reaches adulthood. We are not interested in running up ad litem fees to an amount
    rivaling the amount in controversy. And, I'm sure Plaintiffs would like to get this matter
    resolved quickly so they can get the payment from Lowe's for the medical bills.

    Thank you,

    Melanie


                        0
    Partner
    Okon Hannagan, PLLC
    One Galleria Tower
    13355 Noel Road, Suite 1900
    Dallas, TX 75240
    p: 214.396.9650 (main)
       214.396.9651 (direct)
    f: 469.909.6115
    w: www.okonhannagan.com
    e: mokon@okonhannaqan.com

    <image028.png> <image029.jpg> <image030.png>

    <image031.jpg><image032.jpg> <image033.jpg>

    From: Stephen Clark <stephen@clgtx.com>
    Sent: Thursday, January 10, 2019 9:40 AM
    To: Melanie Okon <M0kon@okonhannagan.com>; Ronald Hurdle
    <rbhurdle@gmail.com>; Sarika Patel <SPatel@okonhannagan.com>
    Cc: Jessica Terry <jterry@okonhannagan.com>
    Subject: RE: Boney v. Lowes

    Good morning:

    I may have spoken too soon. I have other meetings that were scheduled prior to the
    short notice I was provided. I will not be able to be in attendance at the conference
    call. I also am not going to continue wasting my time with conference calls on this case
    that are continuously cancelled and rescheduled. Please send all further
    correspondence in writing to my office. Thank you.

    Best Regards,

    Stephen Clark
    <image026.jpg>
    2201 Main St., Ste. 1250
    Dallas, TX 75201
                                                 3
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                                 Page 84 of 101 PageID 89
    Direct: (469) 906-2266
    Fax: (469) 906-2299

    <image027 .png>

    Visit our website at: http://www.clgtx.com

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    From: Melanie Okon <MOkon@okonhannagan.com>
    Sent: Thursday, January 10, 2019 9:32 AM
    To: Ronald Hurdle <rbhurdle@gmail.com>; Sarika Patel <SPatel@okonhannagan.com>
    Cc: Stephen Clark <stephen@clgtx.com>; Jessica Terry <jterry@okonhannagan.com>
    Subject: RE: Boney v. Lowes

    Mr. Hurdle:

    There is no applicable insurance in this matter, as the amount in controversy is less than
    Lowe's self-insured retention.

    Melanie



    Partner
    Okon Hannagan, PLLC
    One Galleria Tower
    13355 Noel Road, Suite 1900
    Dallas, TX 75240
    p: 214.396.9650 (main)
       214.396.9651 (direct)
    f: 469.909.6115
    w: www.okonhannagan.com
    e: mokon@okonhannaqan.com

    <image034.png> <image035.jpg> <image036.png>

    <image037 .jpg><image032.jpg> <image038.jpg>

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   Sent: Thursday, January 10, 2019 8:16 AM
   To: Sarika Patel <SPatel@okonhannagan.com>
   Cc: Stephen Clark <stephen@clgtx.com>; Melanie Okon <MOkon@okonhannagan.com>
   Subject: Re: Boney v. Lowes

    Again I apologize for yesterday. Still waiting on Stephen to confirm today, Thursday, Jan
    10th at 10:00 am to confirm attendance on our conference call. Sarika, in the interim,
                                                                    4
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19 Page 85 of 101 PageID 90
    would you confirm the limits of your client's CGL and any other policies that may apply. I
    will need this information for my Ad Litem report to the court. Thanks all.

     Sent from Ron's iPhone

     On Jan 9, 2019, at 2:22 PM, Sarika Patel <SPatel@okonhannagan.com> wrote:

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            Stephen, Melanie, and I waited on the conference call for
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            Thank you,

            Sarika

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            Sent: Wednesday, January 9, 2019 2:07:38 PM
            To: Ronald Hurdle; Sarika Patel
            Subject: RE: Boney v. Lowes

            Mr. Hurdle:

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            know if you are still planning on attending our call.

            Best Regards,

            Stephen Clark
            <image003.jpg>
            2201 Main St., Ste. 1250
            Dallas, TX 75201
            Direct: {469) 906-2266
            Fax: (469) 906-2299

            <image002.png>

            Visit our website at: http://www.clgtx.com

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            construed as a digital or electronic signature, nor is it intended to reflect an intention to make an
            agreement by electronic means.


            From: Ronald Hurdle <rbhurdle@gmail.com>
            Sent: Monday, January 7, 2019 5:40 PM
                                                                  5
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19               Page 86 of 101 PageID 91
         To: Sarika Patel <SPatel@okonhannagan.com>; Stephen Clark
         <stephen@clgtx.com>
         Subject: Re: Boney v. Lowes

          Let's use {515) 604-9626 with the access code of 829300. Talk on
          Wednesday the 9th at 2pm.


         Ronald B. Hurdle
         Attorney at Law
         JD, MBA, LL.M, MM


          On Mon, Jan 7, 2019 at 5:34 PM Sarika Patel
          <SPatel@okonhannagan.com> wrote:
           Thank you Ron. We look forward to discussing with you on Wednesday
           the 9th at 2pm. Can you please circulate a conference line for the
           parties to use?

           Thank you,

           Sarika



           From: Ronald Hurdle <rbhurdle@gmail.com>
           Sent: Monday, January 07, 2019 5:31 PM
           To: Sarika Patel <SPatel@okonhannagan.com>
           Subject: Boney v. Lowes

           In preparation for our conference call on Wednesday. Please confirm
           time and conference call information. See the attached photos.



           Ronald B. Hurdle
           Attorney at Law
           JD, MBA, LL.M, MM




                                             6
                                                                        Exhibit C
                                  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19      Page 87 of 101 PageID 92

Sarika Patel

From:                                               Melanie Okon
Sent:                                               Wednesday, March 20, 2019 4:02 PM
To:                                                 Ronald Hurdle
Cc:                                                 Jessica Terry; Sarika Patel
Subject:                                            RE: Boney v. Lowe's - GAL fees


I am requesting that you send me the invoice now and if you do I will put it in line for payment. If not, I guess I will wait
for a hearing and see whether the court orders Lowe's to pay the fees and, if so, in what amount.

Melanie Kemp Okon
Parlner
Okon Hannagan, PLLC
One Galleria Tower
13355 Noel Road, Suite 1900
Dallas, TX 75240
p: 214.396.9650 (main)
   214.396.9651 (direct)
f: 469.909.6115
w: www.okonhannagan.com
e: mokon@okonhannagan.com




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    Best La,v5rers                                               ,,



From: Ronald Hurdle <rbhurdle@gmail.com>
Sent: Wednesday, March 20, 2019 4:00 PM
To: Melanie Okon <M0kon@okonhannagan.com>
Subject: Re: Boney v. Lowe's - GAL fees

I will file them both with the court along with my report, recommending non-approval of the settlement agreement and
the appointment of an attorney ad !item to pursue the claim for the minor. I was hoping that I would have a hearing
date by now. I will follow up with you once I hear back from the court.


    Ronald B. Hurdle
    Attorney at Law
JD, MBA, LL.M, MM



    On Wed, Mar 20, 2019 at 3:11 PM Melanie Okon <M0kon@okonhannagan.com> wrote:
     Please send me an invoice and a W-9.

                                                                               1
         Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                      Page 88 of 101 PageID 93
Sent from my iPhone

On Mar 18, 2019, at 1:41 PM, Ronald Hurdle <rbhurdle@gmail.com> wrote:

       $2,015


       Ronald B. Hurdle
       Attorney at Law
       JD, MBA, LL.M, MM


       On Mon, Mar 18, 2019 at 12:33 PM Melanie Okon <MOkon@okonhannagan.com> wrote:
        Ron,

        Can you please send the fees?

        Thanks,

        Melanie


        Sent from my iPhone

        On Mar 15, 2019, at 4:53 PM, Ronald Hurdle <rbhurdle@gmail.com> wrote:

                  In my car now, but can send it when I get back later

                  Sent from Ron's iPhone

                  On Mar 15, 2019, at 4:22 PM, Melanie Okon <M0kon@okonhannagan.com> wrote:

                          Ron,

                          Can you just tell us how much has been incurred to date?

                         Thanks,

                          Melanie

                          Sent from my iPhone

                          On Mar 15, 2019, at 4:20 PM, Ronald Hurdle <rbhurdle@gmail.com>
                          wrote:

                                   Will do, along with my report that should be
                                   completed this weekend. I have ask the court for a
                                   hearing but have not heard anything yet

                                    Sent from Ron's iPhone

                                   On Mar 15, 2019, at 2:32 PM, Sarika Patel
                                   <SPatel@okonhannagan.com> wrote:
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19         Page 89 of 101 PageID 94
                       Ron,



                       Can you please send us the amount of
                       your current fees in the Boney
                       matter?




                       Thank you,




                       Sarika Pate!
                       Associate Attorney
                       Okon Hannagan, PLLC
                       One Galleria Tower
                       13355 Noel Road, Suite 1900
                       Dallas, TX 75240
                       p: 214.396.9650 (main)
                           214.396.9654 (direct)
                       r..
                       I.  469.909.6115
                       w: www.okonhannagan.com
                       e: spatel@okonhannagan.com


                       <image007 .png><image008.jpg><ima
                       ge009.png>




                                       3
                                                         Exhibit D-1
Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                                 Page 90 of 101 PageID 95




                                      CAUSE NO. DC-18—06098

BRANDON                 BONEY                AND         §                  1N THE DISTRICT COURT
CRYSTAL  JONEs-BONEY, As                                 §
NEXT 0F FRIEND FOR BLAZE                                 §
BONEY                                                    §
     Plaintiff,                                          §
                                                         §
v.
                                                         §                       101ST   JUDICIAL COURT
                                                                                                    .




                                                         §
LOWEs HOME CENTERS, LLC.                                 §
     Defendant.                                          g                   DALLAS COUNTY, TEXAS


     ORDER ON PLAINTIFF’S MOTION TO ADOPT MOTION TO SET ASIDE
                AND OR VACATE PLAINTIFFS’ NONSUIT

         On   this date, the   Court considered the          Plaintiffs’   Motion   to   Adopt   the Guardian   Ad

Litem’s Motion t0      Set:    Aside and/or Vacate           Plaintiffs’   Nonsuit, and ﬁnding good cause,


GRANTS

Plaintiffs.



SIGNED
              the




              on   Wmotion and     rulings




                                    é» 99
                                             on   said




                                                  /
                                                         motion are hereby adopted by reference for




                                                                           v/‘

                                                   J dge           siding
                                        Exhibit E-1
  Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19                   Page 91 of 101 PageID 96

                                         NO. DC-18-06098

BRANDON BONEY AND CRYSTAL                      §                       IN THE DISTRICT COURT
JONES-BONEY, AS NEXT OF FRIEND                 §
FOR BLAZE BONEY, A MINOR,                      §
PLAINTIFFS                                     §
                                               §                        101st JUDICIAL DISTRICT
V.                                             §
                                               §
LOWE'S HOME CENTERS, LLC,                      §                      DALLAS COUNTY, TEXAS
DEFENDANT                                      §

                   ORDER ON GUARDIAN AD LITEM'S MOTION
               TO SET ASIDE AND OR VACATE PLAINTIFF'S NONSUIT
                    AND REQUEST FOR COSTS AND SANCTIONS

       Came on to be heard on this the 9th day of May 2019, the Guardian Ad Litem's Motion to

set aside and or vacate Plaintiffs Notice of Nonsuit with Prejudice and request for costs and

sanctions in the above and numbered cause.

       After reviewing the motion and response, all pleadings on file and arguments of counsel for

both the Plaintiff and Defendant, the Court is of the opinion that the Guardian Ad Litem's Motion

to set aside and or vacate Plaintiffs Notice of Nonsuit with Prejudice and request for costs and

sanctions is GRANTED

       THEREFORE IT IS ORDERED that Plaintiffs notice of nonsuit with prejudice be set

aside and the case placed back on the Court's docket for final adjudication.

       IT IS FURTHER ORDERED that the Guardian Ad Litem be awarded cost of $1,050, for

the time needed in the preparation of this motion and attending the hearing. These costs to be

borne equally by Plaintiff counsel and Defendant counsel. Amount of Costs to be paid to the

Guardian Ad Litem by the __ day of _______, 2019, after which interest will accrue as

allowed by law.

       IT IS FURTHER ORDERED that sanctions in the total amount of$_____ be

assessed equally against Stephen Clark, counsel for the Plaintiff and against Melanie Okon, counsel

for the Defendant. Total sanction amount to be added to any settlement received or verdict

rendered in favor of the minor, Blaze Boney at final adjudication.

Order on Guardian Ad Litem's Motion to Set Aside Nonsuit and Request for Sanctions
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       All other relief not specifically stated in this Order is denied.




                       SIGNED on this the __ day of ________, 2019




                                                         PRESIDING JUDGE




Guardian Ad Litem's Motion to set aside and/or vacate Nonsuit and Request for Sanctions - Page 2
                                                                              Exhibit F-1
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                                                                     NO. DC-18-06098

               BRANDON BONEY AND CRYSTAL                                                                                   IN   THE DISTRICT COURT
               JONES-BONEY, AS NEXT OF FRIEND
               FOR BLAZE BONEY, A MINOR,
               PLAINTIFFS
                                                                                 mwmwmmmmm
                                                                                                                             10 15‘   JUDICIAL DISTRICT
               V.


               LOWE’S HOME CENTERS, LLC,                                                                               DALLAS COUNTY, TEXAS
               DEFENDANT

                                       ORDER ON GUARDIAN AD LITEM’S MOTION
                                   TO SET ASIDE AND OR VACATE PLAINTIFF’S NONSUIT
                                        AND RE UEST FOR COSTS AND SANCTIO S                                                                                                   1




                         Came on     t0 be heard     on   this the   9‘1‘
                                                                            day of May 2019, the Guardian Ad Litem’s                                 Modon to

               set aside   and or vacate   Plaintiffs Notice         of Nonsuit with Prejudice and request for costs and


               sanctions in the above and        numbered       cause.


                         After reviewing the motion and response,                             all   pleadings   on   ﬁle   and arguments of counsel for

               both the    Plaintiff and   Defendant, the Court             is   0f the opinion that the Guardian Ad Litem’s Motion


               to sct aside     and or vacate   Plaintiff’s   Notice of Nonsuit with Prejudice and request for costs and


               sanctions   is   GRANTED
                         THEREFORE IT IS ORDERED that Plaintiffs notice of nonsuit with prejudice be set

               aside   and the case placed back on the Court’s docket for ﬁnal adjudication.


                         IT   IS   FURTHER ORDERED               that the                    Guardian   Ad Litem be          awarded cost 0f $1,050, for

               the time needed in the preparation of this motion and attending the hearing. These costs to be


               borne equally by


               Guardian    Ad Litern
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                                     Plainti f counsel     and Defenda
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                                                                                                                                       interest
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               allowed by law.


                         IT   IS   FURTHER ORDERED               that sanctions in the total                      amount 0f $          4          500 'beD

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               assessed


               for the   Defendant
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                                                ephcn     Clark, counsel for the Plaintiff and against Melanie

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               rendered in favor of the minor, Blaze Boney at ﬁnal adjudication.




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      All other relief not speciﬁcally stated in this   Order is denied.



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                       SIGNED       on   this       day of                            ,2019


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Guardian   Ad Litem’s Motion to   set aside and/or vacate   Nonsuit and Request for Sanctions   -   Page 2
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                                                                                             DALLAS COUNTY
                                         Exhibit G-1                                        5/17/2019 9:30 AM
 Case 3:19-cv-01211-S Document 1-1 Filed 05/20/19            Page 95 of 101 PageID     100     FELICIA PITRE
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                                 CAUSE NO. DC-18-06098

BRANDON BONEY AND CRYSTAL                      §        IN THE DISTRICT COURT
JONES-BONEY,INDIVIDUALLY                       §
AND AS NEXT FRIEND OF BLAZE                    §
BONEY                                          §
                                               §
PLAINTIFFS                                     §
                                               §
vs.                                            §        101ST JUDICIAL DISTRICT
                                               §
LOWE'S HOME CENTERS,LLC                        §        DALLAS COUNTY,TEXAS
                                               §
DEFENDANT                                      §

      PLAINTIFFS' SECOND AMENDED PETITION, REQUEST FOR A JURY
                  TRIAL, AND REQUEST FOR DISCLOSURE

        COMES NOW, PLAINTIFFS, Brandon Boney, Crystal Jones-Boney, Individually

and As Next Friend of Blaze Boney, in the above-styled cause, and hereby files this, their

Second Amended Petition, and would respectfully show unto the Court as follows:

                             I. DISCOVERY CONTROL PLAN

        Discovery in this case shall be conducted under level 2 pursuant to Rule 190.1 and

190.3 of the Texas Rules of Civil Procedure.

                                         II. PARTIES

        Plaintiffs are individuals residing at 168 Dry Wall Ct, Royse City, Texas 75189, and

Plaintiffs may be contacted by and through her undersigned counsel of record, Jennifer

Ashmore, 304 N. San Jacinto, Rockwall, Texas 75087.

        Defendant, Lowe's Home Centers, LLC, has already appeared through counsel and is

properly before the Court.




PLAINTIFFS' SECOND AMENDED PETITION                                          PAGE 1
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                            III. JURISDICTION AND VENUE

          This Court has personal jurisdiction over Defendant because it is a corporate in the

State of Texas, and the subject matter of this action arises under the common law of the

State of Texas.

          Venue is proper m this Court because all or a substantial part of the events or

omissions giving rise to this cause occurred in Dallas County, Texas pursuant to

§15.002(a)(1) of the Texas Civil Practice & Remedies Code, and more specifically because

the particular acts and omissions complained of occurred within this county.

                                          III.   FACTS

          On July 11, 2017, at about 9:40 P.M., the Boney family went to Lowe's Home Center,

LLC - Store 1188, when Blaze stepped on a sharp, metal fragment protruding from a

rema1rung sign. The fragment penetrated Blaze's shoe and puncutured his foot causing

lnJury.

                                       IV.NEGLIGENCE

          LOWE'S HOME CENTERS, LLC., had a duty to exercise the degree of care that a

reasonably careful already established business would use to avoid harm to customers under

circumstances similar to those described herein. Blaze's injuries, and subsequent need for

medical care, were proximately cause by LOWE'S HOME CENTERS, LLC., careless and

reckless disregard of said duty. The negligent, careless and reckless disregard of duty of

LOWE'S HOME CENTERS, LLC., consisted of, but is not limited to, the following acts

and omissions:




PLAINTIFFS' SECOND AMENDED PETITION                                            PAGE2
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       A. In that LOWE'S HOME CENTER, LLC., negligently failed to properly maintain

it's premises; and

       B. In that LOWE'S HOME CENTER, LLC., negligently failed to provide a safe and

hazard free environment for its customers.

       C. In the LOWE'S HOME CENTER, LLC., committed other acts of negligence,

negligence per se, and gross negligence.

       Each of such acts and omissions, singularly or in combination with others constituted

negligence which proximately caused the collision and the injuries which the plaintiff

suffered.

       Defendant was the business that owned the property. As such, Defendants hired the

employees, managers, representatives and/ or staff that were responsible to repair and

maintain the property. As such, they are liable for the negligence of their employees,

managers, representatives and/ or staff. The negligent conduct was a proximate cause of the

occurrence and the Plaintiff's injuries and damages.

       Plaintiffs seek recovery for exemplary damages. Exemplary damages means any

damages awarded as a penalty or by way of punishment. Exemplary damages include

punitive damages. In determining the amount of exemplary damages the trier of fact should

consider the following: a. The nature of the wrong; b. The character of the conduct

involved; c. The degree of culpability of the wrongdoer; d. The situation and sensibilities of

the parties concerned; e. The extent to which such conduct offends a public sense of justice

and propriety; and f. the net worth of the Defendant.




PLAINTIFFS' SECOND AMENDED PETITION                                            PAGE3
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                                        V. DAMAGES

       As a result of the incident made the basis of this lawsuit described in the preceding

paragraphs and the negligence of Defendant, Plaintiffs sustained significant injuries and

damages in the past and will in reasonable probability sustain these damages in the future.

Plaintiffs respectfully requests that the trier of fact determine the amount of their:

           a) Past medical expenses;

           b) Past physical pain and suffering;

           c) Past physical impairment;

           d) Past mental anguish;

           e) Current ongoing medical expenses;

           f) Current physical pain and suffering;

           g) Current physical impairment;

           h) Future medical expenses;

           i) Future pain and suffering;

           j)   Future physical impairment and mental anguish; and

           k) Punitive damages.

       The negligence of Defendant proximately caused the incident made the basis of this

lawsuit, and the injuries and damages to Plaintiffs complained of herein.

                                               VI.

       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff respectfully

requests and demands a trial by jury.




PLAINTIFFS' SECOND AMENDED PETITION                                                PAGE4
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                                               VII.

       Pursuant to Rule 194, request is made that each Defendant disclose, within fifty (50)

days of service of this request, the information or material described in Texas Rule of Civil

Procedure 194.2 (a)-0). Each Defendant must serve a written response to these Request for

Disclosure on Plaintiff within fifty (50) days after the service of this request.

                                              VIII.

       Pursuant to Rule 193. 7 of the Texas Rules of Civil Procedure, Plaintiffs hereby gives

actual notice to each Defendant that any and all documents produced may be used against

the Defendant producing the document at any pretrial proceeding and/ or at the trial of this

matter without the necessity of authenticating the documents.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully requests that

Defendant be cited to appear and answer, and that on final trial, Plaintiff recover:

       1.      Judgment against Defendant for actual damages in an amount within
               the jurisdictional limits of the court i.e., more than $100,000.00, but
               less than $200,000.00

       2.      Pre-judgment interest at the highest allowed rate by law;

       3.      Taxable costs of the Court;

       4.      Post-judgment interest at the highest rate allowed by law; and

       5.      Such other and further relief, general or special, aw law or in equity, to
               which Plaintiff may be justly entitled.




PLAINTIFFS' SECOND AMENDED PETITION                                                 PAGES
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                                                   Respectfully submitted,

                                                   BY: / S / JENNIFER ASHMORE /
                                                   Jennifer Ashmore
                                                   Bar No. 24031019
                                                   Kesney Nichols
                                                   Bar No. 24105874
                                                   Ashmore & Ashmore
                                                   304 N. San Jacinto,
                                                   Rockwall, Texas 75087
                                                   972.325.5938 (T)
                                                   972.349.1759 (F)
                                                   jennifer@ashmorelawfirm.com
                                                   kesney@ashmorelawfirm.com

                                                   ATTORNEYS FOR PLAINTIFFS




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of May 2019, a true and correct copy of this
instrument was served in accordance with the Texas Rules.

                                                                              Is/Jennifer Ashmore
                                                                                  Jennifer Ashmore
                                                                              Attorneys for Plaintiffs




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